       Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 1 of 45
                                                                           I 1111111111111111
                                                                                     11111
                                                                                        111111111111111
                                                                                                 111111111111111
                                                                                                         111111111111111
                                                                                                                 IIIIIIII
                                                                                                            US008737961B2


02)    United States Patent                                                       (10) Patent No.:                         US 8,737,961 B2
       Ma et al.                                                                  (45) Date of Patent:                             May 27, 2014

(54)   METHOD AND APPARATUS FOR                                               2007 /0033044             Al    2/2007 Yao
       INCREMENTALLY DETERMINING                                              2008/0227463              Al    9/2008 Hizume et al.
                                                                              2008/0233945              Al * 9/2008 Gummadi et al ..........   455/422.1
       LOCATION CONTEXT                                                       2008/0248815              Al   10/2008 Busch
                                                                              2009/0089166              Al    4/2009 Happonen
(75)   Inventors: Yiming Ma, Fremont, CA (US); Rich
                  Hankins, San Jose, CA (US); David                                           FOREIGN PATENT DOCUMENTS
                  Racz, Palo Alto, CA (US)
                                                                             GB                         2 348 777 B      10/2000
(73)   Assignee: Nokia Corporation, Espoo (FI)
                                                                                                         OTHER PUBLICATIONS
( *)   Notice:       Subject to any disclaimer, the term of this
                                                                             International search report and written opinion for corresponding
                     patent is extended or adjusted under 35
                                                                             international application No. PCT/FI2010/050655 dated Dec. 28,
                     U.S.C. 154(b) by 1260 days.
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(21)   Appl. No.: 12/565,573
                                                                             Learning Research, 2003, pp. 1-30, http://www.cs.princeton.edu/~
(22)   Filed:        Sep.23,2009                                             blei/papers/BleiNgJordan2003.pdf.
                                                                             Chen, M., et al.: Practical Metropolitan-Scale Positioning for GSM
                                                                             Phones. International Conference on Ubiquitous Computing, 2006,
(65)                    Prior Publication Data
                                                                             pp.      1-18,    http:/ iwww.intel-research.net/Publications/Seattle/
       US 2011/0070863 Al              Mar. 24, 2011                         100920061625_366.pdf.

(51)   Int. Cl.                                                                                                  (Continued)
       H04M 1/66                      (2006.01)
       H04M 1/68                      (2006.01)                              Primary Examiner      Kwasi Karikari
       H04M3/16                       (2006.01)                              (74) Attorney, Agent, or Firm - Ditthavong Mori & Steiner,
(52)   U.S. Cl.                                                              P.C.
       USPC ......................... 455/410; 455/411; 455/435.1
                                                                             (57)                               ABSTRACT
(58)   Field of Classification Search
       USPC ....................................... 455/410, 411, 435.1      Techniques to derive or predict location context for a user of
       See application file for complete search history.                     a mobile device include receiving signal data that indicates a
                                                                             set of one or more distinct signal sources from which signals
(56)                    References Cited                                     are received at the mobile device for each of multiple different
                                                                             times. The method further comprises determining whether
                 U.S. PATENT DOCUMENTS                                       the mobile device is moving outside a specified area at a
                                                                             current time based on the signal data. The method further
     5,835,061 A        1111998 Stewart
     6,414,635 Bl        7/2002 Stewart et al.                               comprises incrementing a count for a stationary state associ-
     7,065,446 B2        6/2006 Chou                                         ated with the set of one or more distinct signal sources at the
     7,096,030 B2        8/2006 Huomo                                        current time, if the mobile device is determined to be not
     7,263,441 Bl        8/2007 Janky et al.                                 moving outside the specified area. The method also com-
 2002/0055842 Al         5/2002 Miyazawa                                     prises delivering a service to the mobile device based on the
 2003/0006911 Al*        1/2003 Smith et al. ................... 340/988
 2003/0014491 Al         1/2003 Horvitz et al.                               stationary state.
 2003/0182394 Al         9/2003 Ryngler et al.
 2006/0160540 Al         7/2006 Strut!                                                               15 Claims, 23 Drawing Sheets

                                                                                  300
                                                                               I--;ND~NCREMENTALSTATE
                                                                                        PREDICTION


                                                                                              301




                                                                                            309




                                                                                               315




                                                                                                                                                     JOINT EXHIBIT

                                                                                                                                                      JTX-090
                                                                                                                                                      6:20-cv-572/580/584/585


                                                                                                                                                           JTX-090-0001
                                                                                                                                   WSOU_585_8737961-0000308
       Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 2 of 45


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                                                                       nipsl6/NIPS2003_AP02.pdf.
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http:/ /wv,w. placelab.orgipublications/pubs/beaconprint2005-          Office Action for Corresponding Chinese Application No.
placelab. pdf.                                                         2010800422130, dated Mar. 5, 2014, 9 pages, with English Lan-
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Conference on Ubiquilous Compuling, 2005, pp. 1-18, hllp://www.
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                                                                                                                                            JTX-090-0002
                                                                                                                   WSOU_585_8737961-0000309
  Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 3 of 45


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                                    FIG.1A
                                     130
                                    SERVER
                                     HOST
                                                            134DATABASE
         100~

                    132
                    LOCATION
                    CONTEXT                                       USERSTATE
                    SERVICE                                         RECORDS


                                                      --------1
                                                    ________      ...~ 107
                                                                   I WIRELESS
                   103                       ____________          ~    LINKS
                   NETWORK
                         LINK

       140SERVER                                                  1Q1
                                                              USEREQUIPMENT
       HOST


                                                      103
                         LOCATION               LOCATION
                         BASED                  CONTEXT
                         SERVICE                  CLIENT


                                    FIG.1B


                                                   150
    _1,.,.,,..-                             MOBILETERMINAL



   -i
     -9-

                                       ~
         160:-7                       162a                        162b
 GSMBASESTATION           WIFIACCESSPOINT




                                                                                       JTX-090-0003
                                                                         WSOU_585_8737961-0000310
  Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 4 of 45


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                                             FIG.2A
    200SIGNALDATA STREAM
                                                                       209

   ~                                  ~
               3                                    2                   i
          ....;_~G_
                 i_A_L_DA_T_A_
                           .....                   ...._s~_iN_bA_L_DA_T_A
                                                                 _ __.




                                             FIG.2B
     210USERINPUT                   200SIGNALDATASTREAM

                                                      220LOCATION
                                                                SERVICE
                     1-------
                     1 -------'----------,
                     I
                                                                       225STREAM
                                                                    WITHMOVEMENT
                           MOVEMENT
                                  DETECTION
                               MODULE



         221                                 226                            228
      ANNOTATION              INCREMENTAL
                                        STATE                       STATEPREDICTION
       MODULE                  LEARNING
                                      MODULE                            MODULE

                         222LEARNING                                         229
                                                                             CURRENT/
                                                                             PREDICTED
                                                                             STATES
                                       230 DATABASE
                           Im         sTAT10NARv
                                               sTATEs       I               240
                                                                      APPLICATION
                              234TRANSITION
                                          STATES                I        API
                                                                I
                                                                I
                      - - - - - - - - - - - - - - - - _1


                                                           242EXTERNALAPPLICATION




                                                                                                 JTX-090-0004
                                                                                   WSOU_585_8737961-0000311
  Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 5 of 45


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                                      FIG.2C
    250STATIONARY
                STATERECORD
             1251USERIDfTAG/CONTEXT 11 258P(IDI Z)                 I
     252       254a            256a        254b            256b        259
                                                                       ---;
     STATE FIRSTSETOF          FIRST       SECONDSETOF     SECOND      ...
     IDf=Z\ TRANSMITTER
                      IDS      COUNT       TRANSMITTER
                                                     IDS   COUNT


                                      FIG.2D
    260TRANSITION
                STATERECORD
                                  I
                                                          BBB'"
                            261USERID 11270PRIORSTATEANDCOUN~ 269
                                                              ;
     262   264       266a
    FROM    TO        TIME     267a
                              MEAN      268a
                                         STD   266b 267b 268b
    STATE     STATE     CONTEXT       DURATIONDURATION
     (=Z1)     (=Z2)




                                                                                      JTX-090-0005
                                                                        WSOU_585_8737961-0000312
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                                 FIG.3                    300
                                 START
                                                      I    ~CREMENTALSTATE
                                                      '--iND PREDICTION


              RECEIVECURRENT
                           DATAIN SIGNALDATASTREAM                      301

              CLASSIFY
                     CURRENT
                           TIMEAS MOVING/NOT
                                           MOVING                       303
                                             305
                      NO                     YES


             UPDATE
                             307                  UPDATE
           STATIONARY                            TRANSITION           309
             STATES                               STATES




                                 NO


                                                      PREDICTNEXT
                                                       TRANSITION        315
                                                         STATE



                     DELIVERSERVICEBASEDON
                     CURRENT/PREDICTED
                                     STATE                  313



                        NO
                                                      END




                                                                                    JTX-090-0006
                                                                      WSOU_585_8737961-0000313
  Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 7 of 45


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                            FIG.4
                                                       400
                                                 / ~OVEMENT
                             START               ~ETECTION



         DEFINECURRENT
                     WINDOWENDINGAT CURRENT
                                          TIME                   401

       DEFINEPREVIOUS
                    WINDOWENDINGBEFORECURRENT
                                            TIME
                                                                 403

                     DETERMINE
                             SIMILARITY
                                      OF
                SIGNALDATASTREAMINTWOWINDOWS                     405




                YES                                    NO


                           411
              NOTMOVING                         MOVING



                                 END




                                                                               JTX-090-0007
                                                                 WSOU_585_8737961-0000314
  Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 8 of 45


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                                                              FIG.5                                                     500
                                                                                                                        UPDATE
                                                                 START
                                                                                                           I STATIONARY
                                                                                                           ~ STATE



                                                                                               ADDNEWSTATIONARY
                                                                                                 STATEBASEDON
                                                                                                TRANSMITTERIDSAT
                                                                                                 CURRENTTIME(Vi)                                            503
                         GETNEXT
                     STATIONARY
                              STATEZ

     I   ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■k ■ ■~9~ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■
            I    I              I                                                                    I          I                                 I      I



                                                                                                                        DETERMINE
                                                                                                                                P(ZI Vi)
                     GETNEXTIDkINVi
                                                                  521
                                                      ~-+I               P(IDklZ) = 1/SIZEOFSIGNALSTREAM
                                                                                                                                                      525



                                                                       533
                 P(ZIVi) = FUNCTION   OF ---                                      .....                                                     531
                    P(IDklZ) for k=1,K                                                           P(ZIVi) =0

         ■■■■■■■■■■■■■■■■■■■■■■ 1 ■■ 1 ■■■■■■■■ 1 ■■ 1 ■■ 1111 ■                      1 ■■ 11 ■■■■■■■       •••••••••••••••••••••••••••••




                                                                                                            UPDATEZ
                NO                                                          YES
                                                                                                                                                        511

                                                                                                                    END




                                                                                                                                                                     JTX-090-0008
                                                                                                                                                       WSOU_585_8737961-0000315
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                                                                              600
                                                                          UPDATE
         FIG.6A                                                         / TRANSITION
                                            START
                                                                        ~ STATE

                    DETERMINE
                            Z= MOSTRECENTSTATIONARY
                                                  STATE
                                                                                        601
                                                             603
                                                             NO

                                                                   605
                                    UPDATEDURATION
                                                 y
             611                                        607                     609
          TOSTATE(Z2)=Z                                  YES      FROMSTATE(Z1)=Z
                                  NO

                                                                                   615
          SETS = (Z1- Z2)
                                                                      SETS = (Z2- Z2)
           ANDNULLZ1
                                                           619
                    UPDATETRANSITION
                                   STATESWITHDURATIONy
                 ANDCURRENTTIMEFEATUREp ANDRESTARTDURATION

        .--------.....&.-----------,                        DETERMINEP(SI Si)
           DETERMINE       MEAN(µ)ANDSTD(er)OFDURATION  IN ---    .....
                TRANSITION      STATESi FORTIMEFEATUREp
                                                                       623
                   DETERMINE
                           SURVIVALPROBABILITY
                                             P(SiI Si)
          AS FUNCTION
                    OFNORMALDISTRIBUTION
                                       WITHMEAN(µ)ANDSTD(er)

                          627        ----------                                  625
                            NO              P(NOTTRANSITIONINGI Si)
                                                 = 1-P(SiISi)
                                                                                 629
                        SUMOF P(TRANSITIONINGTOA DIFFERENT STATEI Si)
                                        = 1-P(SiI Si)
                       DISTRIBUTED
                                 AMONGDIFFERENT    STATESBASEDONDATA
              631
     ·········7"··"·"············"·"·"···       .......................................... .
         621
                                             END




                                                                                                        JTX-090-0009
                                                                                          WSOU_585_8737961-0000316
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U.S. J>ate        May 27, 2       Sheet 8 of                 lJS 8,737,9
          nt               014                 23                          61 B2




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                                                    ¢   PRE.CE.O
                                                                  E.NCE.




                                                          653C




                                   654b




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                                                                                        000317
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                                                   FIG.7A                        100




            DETERMINE
                    St= MOSTPROBABLE
                                   TRANSITION
                                            STATEAT CURRENT
                                                          TIMEt

                   DETERMINE
                           ZO=MOSTRECENTSTATIONARY
                                                 STATE                                             705
                           ANDASSOCIATED
                                       TIMEtO


                                                       DETERMINENUMBERM OFTIMETICKS
                                                         SINCELASTSTATIONARY    STATE:
                                                                m = (t-tO)/TICK


                St= (Z0- Z0)                                         FORj = 1 TO m
                                                               P(Sj)= MAX(P(SkI Sj-1,y,~)
               709                        713                     WHERESO=(ZO- ZO)
                                                                      ANDSt= Sm
      ■■■■■■■ 1 ■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■1•·····························t·········




     ...............................................................................
            DETERMINE
                    SX= MOSTPROBABLE
                                   TRANSITION
                                            STATEAT FUTURETIMEtX
                                                                                                  ~~:   ....

                                 DETERMINE
                                         NUMBERX OFTIMETICKS
                                      TO FUTURETIMEtX:       f                             721
                                        X = (tX-tO)/TICK

                                                          l
                                              FOR x = 1 TOX                            f   723
                                        P(Sx)= MAX(P(SkI Sx-1,y,~)
                                           WHERESO=(ZO- ZO)
      ■■■■■■■ I ■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■         ■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■ ~ ■ I ■■■■■■■




                                                                                                  703
                                                        END




                                                                                                               JTX-090-0011
                                                                                                 WSOU_585_8737961-0000318
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                                  FIG.7B
                                                         750
                                                         VITERBIPATH
                                                         AMONG
                                                     / ;RANSITION
                                                     --;TATES




              781
                                                              ,,
                  0.3,,
                    ,,                                 0.2/
  770
                      ,                                ,,
                                                         ,,             773b



                  '
                  '        783
                O.J1',
              781

                  771c

              76010              "'-76111           6212

        752TIME




                                                                                         JTX-090-0012
                                                                           WSOU_585_8737961-0000319
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                           FIG.BA
                                                      800
                                                      LOCATION
                                                      CONTEXT
                                                    / fLIENT
                                                    --;ATA




                          FIG.88

       850CONTEXTSERVERINTERFACE
                                          856MAP
        852USERIDANDCONTEXT


        854
        LISTOF
        TRANSMITTER
                  IDS




                                                                                 JTX-090-0013
                                                                   WSOU_585_8737961-0000320
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                                 FIG.9A




                                                                         JTX-090-0014
                                                           WSOU_585_8737961-0000321
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                             FIG.9B




                                                                         JTX-090-0015
                                                           WSOU_585_8737961-0000322
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     0.4 .---~---,,-----.---.-----,----.--.------r--~---.----.--..------.-,
              \/\'!Fi --+--
             GSM        ·X·                                                        1000     FIG.10A




              Vifl    --+--
                                                                                            FIG.10B

      :rn

      50




      40

      30

      .2D




                                                                                                            JTX-090-0016
                                                                                              WSOU_585_8737961-0000323
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                                                                                                FIG.11A

                                                                                               1115
                                                                                               1114



     0.7




     [ts,~~-~~-~-~~-~~-~-~~-~~

                      n1        15     ;:;J   {_!_s3.0 35 40 45       so      55   e:n. es
            1104                                1102 da•ts



                                                                                                FIG.11B




     G.e:   top ·~ --+--
            top 2' •.•.•··X·••.•.•
            top 3 .·.···:t.'··                                                 1150
            t-::.p4 , ...(:]......
            top 5 -··---·-




                                                                                                               JTX-090-0017
                                                                                                 WSOU_585_8737961-0000324
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      4WJ .---~--------._.......--.------------r------,
                                                                       HM 1:/1i::::::s::J
                                                                        LOA il::':lffiI:E]         FIG.12A
                  1200                                                     ~!Loe 111111111111111




                                                                      1220c




       25iJ .---~-----..-----~-------,
                                                                           HMM c:::z::::J
                      1250                                                  LCkA [[l'JJE!
                                                                            :iloc 111111111111111  FIG.12B
       20G




                                                                           1270c




                                                                                                                 JTX-090-0018
                                                                                                   WSOU_585_8737961-0000325
  Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 19 of 45


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           fa:,k 1 -----+-----
           faik 3 ---i<:--·-                             1300        FIG.13A




                                                                     FIG.13B




  0.4



  0 ..2




          .;::   10                                        55
          1304                   1302




                                                                                  JTX-090-0019
                                                                    WSOU_585_8737961-0000326
  Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 20 of 45


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                                                                                                                                           FIG.13C




                          5
                      1304


   ~~ ..2   .-----r-----r-----r-----r-----r-----r-----r-----r-----r-----r-----r----.



                                                                                                                                   1360    FIG.13D




                                        10               --~t:          2:U            2'.5     3-G    36     -40   ,4;5   .~:HJ     55


                                                                           1302               a,;3y5




                                                                                                                                                            JTX-090-0020
                                                                                                                                              WSOU_585_8737961-0000327
  Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 21 of 45


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                                                                                                     1400      FIG.14A

                               --......,____
                                          EJ--




    50CMJ     "a,
                    '"--




     45-G .------.---------.-------r-------.-------.

                                                                                                               FIG.14B
                                        13




             ·-;:;-'-::·:·-,_,-- -+"             -------   ·------+-"---,---"---'--•'--• ----,
     250:                  ·-..:.




                                                                 2                3              4
    1454                                              1402 min SlslJ!}Ol't {%}




                                                                                                                              JTX-090-0021
                                                                                                                WSOU_585_8737961-0000328
  Case 6:20-cv-00585-ADA Document 272-38 Filed 10/04/23 Page 22 of 45


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                                  FIG.15


         Cl.0045                                       1500
          0.004

         00035




          Cl.002



          il00·1                                         1540
                                   1520
         0.0005


       C           QT'IGSM    QT2 Gs.r~1
                                  1502
                                                      QT2 •~Vif1




                                                                              JTX-090-0022
                                                                WSOU_585_8737961-0000329
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  FIG.16


                    1680                 1684          1690
                                       INTERNET
                                        SERVICE
                                       PROVIDER




                               1678                      1692
                 1682          NETWORK
                                     LINK
                 HOST                                   SERVER




                        1670                                  1600
                  COMMUNICATION
                              14----~
                    INTERFACE



                        1604
                     MEMORY




                        1606
                    READONLY
                     MEMORY




                    1616                     1612
                  POINTING
                                                         1614
                                        INPUTDEVICE    DISPLAY
                   DEVICE




                                                                            JTX-090-0023
                                                              WSOU_585_8737961-0000330
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     FIG.17



       1700 \




                   PROCESSOR           DSP          ASIC
                       1703            1707          1709



                                         ,
                                    BUS1701




                                    MEMORY
                                      1705




                                                                          JTX-090-0024
                                                            WSOU_585_8737961-0000331
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        FIG.18
    MOBILESTATION                                                                                                         1817
           1.§Qj_

                                                                                                                  1835......_Y
                                                                         1815      1841            1839

   1809                       ~                1805
          AUDIO
   1813 INTERFACE

                               I              DSP
                               I
                               I     w                                   1829
        .__,..................,__.
                             18431   z
                               I     :5
                                     o_
                               I
                               I     "'
                                     0
                                     <(
                               I     CD
  ~ _   1811 1845_ _ _         I     0
                                     ~                                1___       1827 ____     1831___________        _

                                              MCU
             MEMORY                                                        1847
                                                           Keyboard                          BatteryInterface
                                                                                                   &
                                                                           1807               PowerControl
                                                            Display
              1851                           1803
                                                         I- - - - - -;   r1849                  1820
                                                         ,_____
                                                          SIMCard r'
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           METHOD AND APPARATUS FOR                                     at a mobile device for each of a plurality of different times.
          INCREMENTALLY DETERMINING                                     The apparatus farther comprises means for determining
               LOCATION CONTEXT                                         whether the mobile device is moving outside a specified area
                                                                        at a current time of the plurality of different times based on the
                         BACKGROUND                                  5 signal data. The apparatus further comprises means for incre-
                                                                        menting a count for a stationary state associated with the set
    Service providers (e.g., wireless, cellular, etc.) and device       of one or more distinct signal sources at the current time, if the
manufacturers are continually challenged to deliver value and           mobile device is determined to be not moving outside the
convenience to consumers by, for example, providing com-                specified area. The apparatus farther comprises means for
pelling network services. A popular application is delivering 10 delivering a service to the mobile device based on the station-
services to a user of a wireless device based on the device's           ary state.
location, and many mobile devices include Global Position-
                                                                           According to another embodiment, an apparatus compris-
ing System (GPS) receivers that provide geolocation of the
                                                                        ing at least one processor, and at least one memory including
device to about 30 meter accuracy. While suitable for many
                                                                        computer program code, the at least one memory and the
purposes, there are problems delivering services based on 15
GPS data. One problem is that the power consumption in                  computer program code configured to, with the at least one
continuously monitoring on-device GPS is high. It is still not          processor, cause the apparatus to receive signal data that
possible for most of the mobile phones to continuously trace            indicates a set of one or more distinct signal sources from
a user for more than a relatively short period (e.g., 3 hours)          which signals are received at a mobile device for each of a
without charging. A second problem is that the storage cost 20 plurality of different times. The apparatus is also caused to
for storing GPS traces is also high. A third problem is that it         determine whether the mobile device is moving outside a
is still not efficient and effective to derive a context for a user,    specified area at a current time of the plurality of different
e.g., at or near a usual spot ( such as cafe, gym, work or home)        limes based on the signal data. The apparatus is also caused lo
based on determining similarity of different GPS traces. It is          increment a counter for a stationary state associated with the
desirable to derive context, such as "work" or "lunch" or 25 set of one or more distinct signal sources at the current time,
"recreation," to be used to tailor network services. However,           if the mobile device is determined to be not moving outside
current techniques for deriving location context from gcolo-            the specified area. The apparatus is also caused to initiate
cation data are computationally intensive and do not scale              delivery of a service to the mobile device based on the sta-
well to thousands of users of the service.                              tionary state.
                                                                     30    According to another embodiment, a method comprises
              SOME EXAMPLE EMBOlJlMENTS                                 facilitating access to, including granting access rights for, a
                                                                        user interface configured to receive signal data that indicates
    Therefore, there is a need for an approach to derive or             a set of one or more distinct signal sources from which signals
predict location context for a user of a mobile device, or both,        are received at a mobile device for each of a plurality of
that scales well to many users, such as incrementally deter- 35 different times. The method further comprises facilitating
mining location context.                                                access to, including granting access rights for, a user interface
    According to one embodiment, a method comprises receiv-             that delivers a service to the mo bile device based on a station-
ing signal data that indicates a set of one or more distinct            ary state associated with a set of one or more distinct signal
signal sources from which signals are received at a mobile              sources al a lime when the mobile device is determined lo be
device for each of a plurality of different times. The method 40 not moving outside a specified area based on the signal data.
further comprises determining whether the mobile device is                  Still other aspects, features, and advantages of the inven-
moving outside a specified area at a current time of the plu-           tion are readily apparent from the following detailed descrip-
rality of different times based on the signal data. The method          tion, simply by illustrating a number of particular embodi-
further comprises incrementing a count for a stationary state           ments and implementations, including the best mode
associated with the set of one or more distinct signal sources 45 contemplated for carrying out the invention. The invention is
atthe current time, if the mo bile device is determined to be not       also capable of other and different embodiments, and its
moving outside the specified area. The method also com-                 several details can be modified in various obvious respects, all
prises delivering a service to the mobile device based on the           without departing from the spirit and scope of the invention.
stationary state.                                                       Accordingly, the drawings and description are to be regarded
    According to another embodiment, a computer-readable 50 as illustrative in nature, and not as restrictive.
storage medium carrying one or more sequences of one or
more instructions which, when executed by one or more                            BRIEF DESCRIPTION OF THE DRAWINGS
processors, cause an apparatus to receive signal data that
indicates a set of one or more distinct signal sources from                 The embodiments of the invention are illustrated by way of
which signals are received at a mobile device for each of a 55 example, and not by way of limitation, in the figures of the
plurality of different times. The apparatus is also caused to           accompanying drawings:
determine whether the mobile device is moving outside a                     FIG. lA is a diagram of a system capable of incrementally
specified area at a current time of the plurality of different          determining location context, according to one embodiment;
times based on the signal data. The apparatus is farther caused             FIG. lB is a diagram of distinct signal sources from which
to increment a count for a stationary state associated with the 60 signals are received at a mobile terminal, according to one
set of one or more distinct signal sources at the current time,         embodiment;
if the mobile device is determined to be not moving outside                 FIG. 2A is a diagram of a signal data stream, according to
the specified area. The apparatus is also caused to delivering          one embodiment;
a service to the mobile device based on the stationary state.               FIG. 2B is a diagram of the components of a location
    According to another embodiment, an apparatus comprises 65 context service module, according to one embodiment;
means for receiving signal data that indicates a set of one or              FIG. 2C is a diagram of a stationary state record, according
more distinct signal sources from which signals are received            to one embodiment;



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   FIG. 2D is a diagram of a transition state record, according    skilled in the art that the embodiments of the invention may be
to one embodiment;                                                 practiced without these specific details or with an equivalent
   FIG. 3 is a flowchart of a process for incrementally deter-     arrangement. In other instances, well-known structures and
mining location context, according to one embodiment:              devices are shown in block diagram form in order to avoid
   FIG. 4 is a flowchart of a process to detect movement for 5 unnecessarily obscuring the embodiments of the invention.
the process of FIG. 3, according to one embodiment;                   FIG. lA is a diagram of a system 100 capable ofincremen-
   FIG. 5 is a flowchart of a process to incrementally update a    tally determining location context, according to one embodi-
stationary state for the process of FIG. 3, according to one       ment. This embodiment does not require the excessive power
embodiment;                                                        consumption, storage, computational resources or user
   FIG. 6A is a flowchart of a process to incrementally update 10 involvement of prior art approaches.
a transition state for the process of FIG. 3, according to one        To address this problem, instead of predicting the exact
embodiment;                                                        geo-coordinates where a user is about to go, system 100 of
   FIG. 6B is a diagram of precedence for multiple temporal        FIG. lA introduces the capability to predict the location state
features, according to one embodiment;                             that the user is probably transiting to or from. As used herein,
   FIG. 7A is a flowchart of a process to predict the next 15 each location state for a user refers to a set of one or more
transition state for the process of FIG. 3, according to one       anchoring points/regions in space, and the context is gleaned
embodiment;                                                        from those anchoring points or user collllllents or colllllluni-
   FIG. 7B is a diagram ofa Viterbi path among most probable       cations when associated with those anchoring points. The
transition states, according to one embodiment;                    prediction task results in a sequence of predicted location
   FIG. SA is a diagram of location context data at a client 20 states for a given time window after a query is made. By
process, according to one embodiment;                              solving this problem accurately and efficiently, a set of new
   FIG. SB is a diagram of location context interface at a         location based services (LBS) are enabled, which can smartly
server process, according to one embodiment;                       recommend infomiation to a user based on his/her current and
   FIG. 9A and FIG. 9B are maps of transmitter coverage for        future location states.
GSM cells and WiFi access points, respectively, according to 25       In certain embodiments, an Incremental Location-State
some embodiments;                                                  Acquisition and Prediction (iLoc) framework is provided to
   FIG. l0A is a graph of a ratio of moving periods to non-        address the prediction problem by utilizing the sensor infor-
moving periods for a mobile terminal, according to one             mation on a user's mobile device. ILoc incrementally learns
embodiment;                                                        the location states by constantly monitoring the signal envi-
   FIG. 10B is a graph of number of stationary states for a 30 rolllllent of the mobile device. Learning and prediction mod-
mobile terminal accumulated incrementally over time,               ules are tightly integrated into one single framework. As a
according to one embodiment;                                       result, iLoc is capable of updating location-states continu-
   PIG. llA and PIG. 1113are graphs of cumulative distribu-        ously, and simultaneously predicting future location states.
tion function of most frequent stationary states for a mobile         As shown in FIG. lA, the system 100 comprises mobile
terminal accumulated incrementally over time for GSM cells 35 user equipment (UE) 101 having connectivity to server host
and WiFi access points, respectively, according to some            130 and server host 140 via a collllllunication network 105.
embodiments;                                                       By way of example, the collllllunication network 105 of sys-
   FIG. 12A and FIG. 12B are graphs of time to build prob-         tem 100 includes one or more networks such as a data net-
ability modds of transition slates compared lo other               work (not shown), a wireless network (not shown), a tele-
approaches, for GSM cells and WiFi access points, respec- 40 phony network (not shown), or any combination thereof. It is
tively, according to some embodiments;                             contemplated that the data network may be any local area
   FTG. BA through FIG. 13D are graphs of prediction accu-         network (LAN), metropolitan area network (MAN). wide
racy for moving and non-moving transition states for GSM           area network (WAN), a public data network (e.g., the Inter-
cells and WiFi access points, respectively, according to some      net), or any other suitable packet-switched network, such as a
embodiments;                                                    45 commercially owned, proprietary packet-switched network,
   FIG. 14A and FIG. 14B are graphs of number of predic-           e.g., a proprietary cable or fiber-optic network. In addition,
tions made for different minimum thresholds for probability        the wireless network may be, for example, a cellular network
of occurrence of a stationary state (called min support),          and may employ various technologies including enhanced
according to some embodiments;                                     data rates for global evolution (EDGE), general packet radio
   FIG. 15 is a graph of average time to make a prediction for 50 service (GPRS), global system for mobile colllllltmications
moving and non-moving mobile terminals for GSM cells and           (GSM), Internet protocol multimedia subsystem (IMS), uni-
WiFi access points, according to some embodiments;                 versal mobile tclccollllllunications system (UMTS), etc., as
   FIG. 16 is a diagram of hardware that can be used to            well as any other suitable wireless medium, e.g., microwave
implement an embodiment of the invention;                          access (WiMAX), Long Tern1 Evolution (LTE) networks,
   FIG. 17 is a diagram of a chip set that can be used to 55 code division multiple access (CDMA), wideband code divi-
implement an embodiment of the invention; and                      sion multiple access (WCDMA), wireless fidelity (WiFi),
   FIG. 18 is a diagram of a mobile terminal (e.g., handset)       satellite, mobile ad-hoc network (MANET), and the like.
that can be used to implement an embodiment of the inven-             The UE 101 is any type of mobile tenninal or portable
tion.                                                              terminal including a mobile handset, station, unit, device,
                                                                60 multimedia tablet, Internet node, collllllunicator, desktop
        DESCRIPTION OF SOME EMBODIMENTS                            computer, laptop computer, Personal Digital Assistants
                                                                   (PDAs), or any combination thereof. It is also contemplated
   A method and apparatus for incrementally determining            that the UE 101 can support any type of interface to the user
location context are disclosed. In the following description,      (such as "wearable" circuitry, etc.). The UE 101 colllllluni-
for the purposes of explanation, numerous specific details are 65 cates with the network 105 using one or more wireless links
set forth in order to provide a thorough understanding of the      107. An example mobile terminal is described in more detail
embodiments of the invention. It is apparent, however, to one      below with reference to FIG. 18. The server host 13 0 or server



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host 140 is any mobile or fixed terminal; and each communi-          received from distinct signal sources, such as signals that
cates with the network 105 through a network link 103 that           form wireless links 107. As used herein, the term stationary
may be wired or wireless.                                            wireless transmitter refers to any wireless transmitter used for
   The mobile UE 101 includes a location context client pro-         wireless communications, which persists in one location for
cess 103 and the server host 130 includes a location context 5 an extended period of time that is long compared to the time
service process 132 to detennine the location context of the         for determining the location context of a mobile terminal,
UE 101. This location context is then provided to other net-         e.g., persists in one location for more than about a week.
work applications, such as location based service process 142        Although various embodiments are described with respect to
on server host 140. The location context service 132 employs         wireless fidelity (WiFi) access points and global system for
a database 134 with one or more user state records 136, 10 mobile communications (GSM) base stations, it is contem-
described in more detail below.                                      plated that the approach described herein may be used with
   By way of example, the UE 101 and host 130 or host 140            other wireless communication transmitters, such as any of the
communicate with each other and other components of the              transmitters used for network communications described
communication network 105 using well known, new or still             with reference to communications network 105.
developing protocols. In this context, a protocol includes a set 15     FIG. 1B is a diagram of stationary wireless transmitters
of rules defining how the network nodes within the commu-            from which signals are received simultaneously at a mobile
nication network 105 interact with each other based on infor-        terminal, according to one embodiment. The mobile terminal
mation sent over the communication links The protocols are           150 is an example of mobile UE 101. It is assumed for
effective at different layers of operation within each node,         purposes of illustration that the mobile terminal 150 is a
from generating and receiving physical signals of various 20 cellular telephone that communicates with GSM base sta-
types, to selecting a link for transferring those signals, to the    tions, and includes a WiFi network card that communicates
format of information indicated by those signals, to identify-       with any WiF i access points within range. As depicted in FIG.
ing which software application executing on a computer sys-          1B, the mobile tenninal is within range of, and therefore
tem sends or receives the information. The conceptually dif-         exchanges data packets with, three GSM base stations 160a,
ferent layers of protocols for exchanging information over a 25 160b, 160c (collectively referenced hereinafter as GSM base
network are described in the Open Systems Interconnection            stations 160) of a cellular telephone network. The mobile
(OSI) Reference Model.                                               terminal is also within range of, and therefore may exchange
   Communications between the network nodes are typically            data packets with, two WiFi access points 162a, 162b (col-
effected by exchanging discrete packets of data. Each packet         lectively referenced hereinafter as WiFi access points 162)
typically comprises (1) header information associated with a 30 connected to the Internet.
particular protocol, and (2) payload information that follows           According to an illustrated embodiment, the location con-
the header information and contains information that may be          text client 103 continuously samples the signal fingerprints
processed independently of that particular protocol Often, the       from a user's mobile terminal 101. At each fixed sampling
data in the payload for the particular protocol includes a           time interval (e.g., 30 seconds), it samples the signals
header and payload for a different protocol that is said to be 35 received from all wireless transmitters in range and sends data
encapsulated in the lower layer protocol.                            indicating the transmitters of those signals to the location
   Processes executing on various devices, such UE 101 and           context service 132. For example, two signal fingerprints/
server host 130 or server host 140, often communicate using          vectors are sampled: the GSM cell identifiers; and the WiFi
the client-server model of network communications. The cli-          access point identifiers, (e.g., a service set identifier (SSID)
ent-server model of computer process interaction is widely 40 which is the name of a wireless local area network (WLAN)).
known and used. According to the client-server model, a              The signal fingerprints are sent to the location context service
client process sends a message including a request to a server       132 in a signal data stream of one or more data packets.
process, and the server process responds by providing a ser-            FIG. 2A is a diagram of a signal data stream 200, according
vice. The server process may also return a message with a            to one embodiment. The signal data stream 200 includes a
response to the client process. Often the client process and 45 first time field 201a, and a first signal data field 203a, fol-
server process execute on different computer devices, called         lowed by a second time field 201b and a second signal data
hosts, and communicate via a network using one or more               field 203, followed by subsequent fields indicated by ellipsis
protocols for network communications. The term "server" is           209. In some embodiments, the information in the time field
conventionally used to refer to the process that provides the        201a, 201b and others indicated by ellipsis 209 (collectively
service, or the host on which the process operates. Similarly, 50 referenced hereinafter as time field 201) is inferred from the
the term "client" is conventionally used to refer to the process     time that the data is received; and the time field 201 is omitted
that makes the request, or the host on which the process             from the signal data stream 200. Each signal data field 203a,
operates. As used herein, the terms "client" and "server" refer      203b and others indicated by ellipsis 209 (collectively refer-
to the processes, rather than the hosts, unless otherwise clear      enced hereinafter as signal data field 203) holds data that
from the context. In addition, the process performed by a 55 indicates identifiers for one or more distinct signal sources
server can be broken up to run as multiple processes on              within range for one or more types (e.g., WiFi or GSM) of
multiple hosts (sometimes called tiers) for reasons that             wireless communications. For example, the signal data field
include reliability, scalability, and redundancy, among others.      203 holds data for GSM base stations 160 and WiFi access
A well known client process available on most nodes con-             points from which signals are received simultaneously at
nected to a communications network is a World Wide Web 60 mobile terminal 150.
client (called a "web browser," or simply "browser") that               Any method may be used to indicate the wireless transmit-
interacts through messages formatted according to the hyper-         ter identifiers (IDs) in the signal data field 203. For example,
text transfer protocol (HTTP) with any of a large number of          in some embodiments, the code for the letters and mnnerals of
servers called World Wide Web (WWW) servers that provide             each ID are explicitly included. In some embodiments the
web pages.                                                        65 identifiers are of variable length are hashed to a fixed length
   According to the illustrated embodiment, location context         number of bits. In some embodiments, a binary vector is
for the UE 101 is derived, at least in part, from signals            defined with a vector position for each wireless transmitter



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encountered, with vector size increasing over time. A zero in             The user input is anything input by the user that is passed to
a vector position indicates the corresponding transmitter is          the location context server, including any response to prompts
not in range of the UE 101 at a particular time, while a one          for identifying the user's current location, to anything the user
indicates it is in range. In some embodiments the vector is           does or says at the mobile device, including applications
included in the signal data field 203. In some embodiments, a      5 opened and closed. For example, in some embodiments,
list of the non-zero positions of the vector is indicted in the       when a primary stationary state is identified, as described in
signal data field 203. The vector may be formed at the location       more detail below, the user is prompted to label the user's
context client 103 before transmission or by the location             current location with a word or phrase that can be used to tag
context service 132 upon receipt. In general, the contents of a       the associated stationary state. In some embodiments, the
                                                                   10 user's messages or voice calls are monitored while the user is
single signal data field at time interval i, is a set represented by
vector vi of one or more wireless transmitter identifiers a,          in one of the primary stationary states, and the words are
e.g.,                                                                 mined to derive a context for the stationary state. For example
                                                                      if the user repeatedly says or writes text indicating "working
       vi=aikfor k=l, Ki,
                                                                      out," "aerobics," "exercise," etc. then it is deduced that the
where Ki is the number of wireless transmitter IDs received at 15 stationary state is associated with a gym.
the mobile terminal at time interval i.                                   The annotation module 221 takes the user input data 210
   While mobile terminal 150 is not moving substantively,             forwarded by the location context client 103 and determines
e.g., not moving outside a limited or otherwise specified area,       a notation, label or tag, or some combination, to attach to a
the identifiers indicated by successive signal data fields 203        stationary or transition state determined by the learning mod-
arc similar (changing slightly, for example, if one or more 20 ule 222. The annotation component is responsible for con-
WiFi access points powers up or powers down or the user               necting the user tagged states to the learned states. Thus, the
moves to different locations within an apartment). When               output states information can have more semantic informa-
mobile terminal 150 is moving substantively, however, the             tion attached (e.g., "at home" or "at work"). In embodiments
identifiers indicated by successive signal data fields 203            using a passive mode, a server can listen to the content pushed
change more dramatically and are therefore less similar. 25 out from a mobile device (e.g., micro-blogging). Based on the
When a mo bile tenninal is frequently not moving with similar         content, the location tagging infornrntion can be derived. In
sets of transmitter IDs, those similar sets define a stationary       embodiments using an active mode, the user is prompted or
state, e.g., a limited area where the userof the mobile terminal      polled for information. For example, these embodiments
has a tendency to stay. Transition states are defined by a fixed      prompt the user to confirm different location tags when the
transition time interval (tick), an initial stationary state (From 30 system believes the user is in a stationary state of some
State) and a final stationary state (To State); and include states    importance. The system only needs to ask very few questions
in which the initial and final states are the same stationary         to the user, which makes the polling approach very feasible
state. Thus a stationary state that persists for the tick, which      and less annoying to the user. In some embodiments, the
most stationary states do, is a member of the set of all possible     annotation module 221 is omitted.
transition states. In some embodiments, the transition time 35            In some embodiments, the signal data stream 200 includes
interval (tick) is the same as the sampling time interval for         an occasional GPS geo-location that can be used to determine
determining whether a mo bile terminal is moving. In general,         which particular location is associated with the stationary
however, the tick (e.g., about 10 minutes) is longer than the         state and further provide context. For example, a street
sampling time interval (e.g., 30 seconds to 2 minutes).               address can be determined for the gym at or near the GPS
   FIG. 2B is a diagram of the components of a location 40 location associated with the stationary state tagged with the
context service module 220, according to one embodiment.              gym label. In some embodiments, the location context service
Module 220 is one embodiment of location context service              module sends a request to the location context client 103 to
process 132. It is contemplated that the functions of these           capture a GPS position and include it in the signal data
components may be combined in one or more components or               stream, for example while the mobile terminal is determined
performed by other components of equivalent functionality 45 to be in a stationary state. By using only occasional GPS
on the same or different devices, computers or chipsets,              geo-locations, the power, memory and computational
including on host 130, host 140 or UE 101. In this embodi-            resources of the mobile terminal are not as heavily burdened
ment, the location context service module 220 includes an             as prior approaches that depend on GPS for predicting future
annotation module 221, a learning module 222 and a predic-            user locations.
tion module 228, as well as an application programming 50                 The learning module 222 includes a movement detection
interface API 240 for other applications to request and receive       module 224, an incremental state learning module 226 and a
the current and predicted location states of a mobile device.         database 230 with stationary states data structure 232 for each
The output from the learning module 222 is a signal data              user and transition states data structure 234 for each user.
stream with movement classification 225 and a database 230            Thus database 230 is an embodiment of database 134, while
of stationary and transition states. The output from the learn- 55 user state records 136 are implemented as stationary states
ing module 222 is used by the state prediction module 228 to          data structure232 and transition states data structure 234. The
provide the current or predicted states, or both, 229 to the          functions provided by each of these modules and data struc-
external application API 240. Thus the location context ser-          tures are described in more detail in the following diagrams
vice module 220 accepts user input 210 and the signal data            and flowcharts.
stream 200, and provides current and future location states 60            FIG. 2C is a diagram of a stationary state record 250,
229 to one or more external applications 242. For example,            according to one embodiment. The stationary state record 250
the location context service module 220 determines that the           is one record in the stationary states data structure 232. The
user is currently at work but is about to leave for lunch; and        stationary state record 220 includes user llJ/'lAG/Context
passes this information to an external application 242, like          field 251, a state ID field 252, a probability field 258, and one
location based service 142, such as a marketing service that 65 or more fields holding sets of transmitter IDs, e.g., first set of
provides restaurant coupons to a user going to lunch in the           transmitter IDs field 254a, second set of transmitter IDs field
vicinity of a subscribing restaurant.                                 254b and others indicated by ellipsis 259 (collectively refer-



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enced hereinafter as transmitter set fields 254), and one or          tion field 267 a, field 266b and others indicated by ellipsis 269
more count fields, e.g., first count field 256a, second count         (collectively referenced hereinafter as mean duration fields
field 256b and others indicated by ellipsis 259 (collectively         267), and one or more duration standard deviation (STD)
referenced hereinafter as count fields 256).                          fields, e.g., STD duration field 268a, field 268b and others
   The user ID/tag/context field 251 holds data that indicates 5 indicated by ellipsis 269 (collectively referenced hereinafter
the user (each user is expected to have different stationary and      as STD duration fields 268).
transition states and patterns of change). In some embodi-               The user HJ field 261 holds data that indicates the user
ments, the user ID/tag/text field 251 includes data that indi-        (each user is expected to have different stationary and transi-
cates a tag provided by the user, e.g. "work", or context             tion states and patterns of change). The Prom State ID field
determined by other means, e.g., from analysis of messages 10
                                                                      262 holds data that indicates the unique identifier zl for the
or GPS geo-location.
                                                                      stationary state at the beginning of the time tick. The To State
   The state ID field 252 holds data that provides a unique
                                                                      ID field 264 holds data that indicates the unique identifier z2
identifier z for the stationary state, e.g. an index into the
stationary states data structure or a sequence number that            for the stationary state at the end of the time tick.
restarts for each user or mobile device.                           15
                                                                         Each time context field 266, e.g., time context field 266a,
   Each transmitter set field 254, e.g., transmitter set field        holds data that indicates a temporal feature, such as weekend
254a, holds data that indicates one or more distinct signal           or workday, morning or afternoon or night, associated with
sources, such as wireless transmitter IDs received simulta-           the beginning of the time tick. Several temporal features can
neously at the user's mobile terminal, e.g., the value of one         be defined. A temporal feature has a fixed number of domain
vector vi received when the service determines that the 20 values, which represent some semantic concepts of time. For
mobile terminal is not. Each count field 256, e.g., count field       example, a feature can have {morning, afternoon, evening} as
256a, holds data that indicates the number of sample intervals        its domain values. In Table 1, a set of example temporal
for which that particular set of transmitter IDs was received         features are listed which are used in an example embodiment.
simultaneously. A different but similar set of transmitter IDs        Each temporal feature has a unique ID; each value of a feature
determined to correspond to the same stationary state is 25 also has a unique ID that serves as a bin into which data is
included in a different transmitter set field 254, e.g., transmit-    accumulated. In the illustrated embodiment, for purposes of
ter set field 254b, with its corresponding count field, e.g.,         illustration, very general features are defined. It is anticipated
256b.                                                                 that more domain specific features can be easily added in
   The wireless transmitters indicated may be stationary or           other embodiments.
non-stationary transmitters. Using non-stationary transmitter 30
(e.g., Bluetooth) involves a step to localize these transmitters.                                   TABLE 1
In some embodiments, mined stationary states from station-
                                                                                             Example Temporal Features
ary transmitters (e.g., GSM, WiFi) are used to partition the
non-stationary transmitters (e.g., Bluetooth or other ad-hoc               Temporal
networks). From these partitions, non-stationary transmitters 35           Feature ID      Bin Value ID          Temporal Value
can be identified which have good location sense (e.g., always             TFl             Bl                    Morning
appears when a user is in the office state) or context (e.g., in a                         B2                    Afternoon
particular automobile). After this step, the localized non-                                133                   Night
stationary transmitters are used in some embodiments for the               TF2             B4                    Weekend
                                                                                           BS                    Non-weekend
purpose of determining stationary states or transition states or 40        TF3             B6                    Weekend Morning
associated contexts or some combination.                                                   B7                    Weekend Afternoon
   As described in more detail below, a determination is made                              BS                    Weekend Night
whether two different sets of distinct signal sources (e.g.,               TF4             B9                    Vacation
                                                                                           Bl0                   Non-vacation
transmitter IDs) are similar; and, in some embodiments, this
determination is made based on the posterior probability 45
(probability based on past history) of finding a particular              Each mean duration field 267, e.g., mean duration field
transmitter ID given a particular stationary state. This prob-        267a, holds data that indicates mean duration in a transition
ability is represented by the symbols P(ID/z). This value can         state. Any method may be used to indicate the mean duration.
be determined by sorting the transmitter IDs in the fields 254        In some embodiments, the mean duration field includes a
and adding the counts for each set in which the ID appears and so count ofhow many occurrences of the transition in the current
dividing by the sum of the counts in the count fields 256. Thus       time context are observed so that duration can be updated by
an ID that appears in every set will have a probability of            discounting the latest observed transition duration by it rela-
100%, while an ID that appears in a few sets will have a              tive contribution to the overall count. Each STD duration field
smaller probability. In some embodiments, the probability for         268, e.g., STD duration field 268a, holds data that indicates a
each transmitter ID in the stationary state is updated when the 55 standard deviation of durations to accomplish a transition
stationary state record 250 is updated, and the updated value         state. Any method may be used to indicate the STD duration.
is stored in the probability field 258.                               In some embodiments keeping the number of duration obser-
   FIG. 2D is a diagram of a transition state record 260,             vations in the mean duration field 267, the STD duration field
according to one embodiment. The transition state record 260          268 indicates a sum of durations squared, which can be
is one record in the transition states data structure 234. The 60 updated with each new duration squared. The standard devia-
transition state record 260 includes user ID field 261, a From        tion can be computed from the sum of the durations squared
State ID field 262, a To State ID field 264, and a prior state and    along with the number of observations and mean value, the
count field 270. 'lhe record 260 also includes one or more            latter two indicated in the mean duration field 267.
time context fields, e.g., time context field 266a, field 266b           A particular transition state can be observed at different
and others indicated by ellipsis 269 (collectively referenced 65 times and thus can be associated with more than one time
hereinafter as time context fields 266). The record 260 also          context. Thus, in some embodiments a different temporal
includes one or more mean duration fields, e.g., mean dura-           feature value is included in a different time context field, e.g.,



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field 266b, with its corresponding mean duration field, e.g.,        least between weekends and non-weekends, so that data over
267h, and STD duration field 268h.                                   a significant portion of a week, such as about three days to
   As described in more detail below, a determination is made        about five days, are deemed sufficient to make predictions. In
of the probability of a different transition state given a current   other embodiments, other durations are sufficient. For
transition state and previous distributions of changes among 5 example, for emergency or military workers one day may be
transition states. Thus, in some embodiments, the transition         considered sufficient to make predictions. Step 311 includes
state record 260 includes the prior state and count field 270.       determining whether there is any desire for predicting future
The prior state and count field 270 holds data that indicates        states, e.g., because an external application 242 has requested
the transition state (e.g., za to zb) observed just before the       a prediction out to a certain query time. If there is no request
transition state (zl to z2) indicated by fields 262 and 264. The 10 from any external application for prediction of a future state,
prior state and count field270 also includes data that indicates     then, in some embodiments, step 311 determines that there is
how many times that previous state (e.g., za to zb) was              not sufficient data for a prediction.
observed just prior to the current transition state. This data          If data is not sufficient to make predictions, then in step 313
from every transition state record can be used to determine the      a service is delivered to a user based on the current or most
posterior probability of distributions among different transi- 15 recent transition state or stationary state. For example, an
tion states. That data can be fit with a mathematical model in       external application 242 queries the location context service
some embodiments, such as a multinomial fit, well known in           220 through applicationAPI 240 for the most recent station-
the art.                                                             ary state, or the transition state that is based on the most recent
   Although records are shown above as contiguous blocks of          stationary state, and delivers a coupon to the user's mobile
data with particular fields in a particular order for purposes of 20 terminal based on that state.
illustration, in other embodiments one or more fields or                If there is sufficient data to make predictions, then in step
records or portions thereof may be arranged in the same or           315 zero or more predictions of future transition states are
different order on the same or different portions of a database      made, including any transition states that maintain the same
on one or more network nodes.                                        stationary state. In an illustrated embodiment, step 315 is
   FIG. 3 is a flowchart of a process for incrementally deter- 25 performed by determining the most probable transition state
mining location context, according to one embodiment. In             at a future time based on the posterior probability of one or
one embodiment, the location context service module 220              more transition states changing to a different transition state
performs the process 300 and is implemented in, for instance,        during a tick, as described in more detail below with reference
a chip set including a processor and a memory as shown FIG.          to FIG. 7A. In some embodiments, step 311 and step 315 are
17, a mobile terminal shown in FIG. 18 or general purpose 30 performed by the state prediction module 228.
computer shown in FIG. 16. Although particular steps are                lf it is determined in step 317 that conditions are satisfied
shown in FIG. 3 and subsequent flowcharts (FIG. 4, FIG. 5,           for ending the determination of current and future states, the
FIG. 6A and FIG. 7A) in a particular order for purposes of           process 300 ends. Otherwise the process continues at step
illustration, in other embodiments one or more steps are omit -      301.
ted or performed in a different order or overlapping in time, in 35     FIG. 4 is a flowchart of a process to detect movement for
series or in parallel, or additional steps are added, or the         step 303 of the process 300 of FIG. 3, according to one
process is changed in some combination of ways.                      embodiment. The process 400 is directed to detecting
   In step 301, current data in the signal data stream is            whether the mobile terminal appears to be moving, while
received. Por example, signal data 203b in signal data stream        accounting for the possibility that the population of transmit-
200 is received from mobile tern1inal 150 of a particular user. 40 ters may change somewhat even when a mobile terminal is
In step 303, the mobile terminal of the user is classified as        stationary. The basic idea is that if terminal is not moving
moving or not moving at the current time. In an illustrated          much, the corresponding signal fingerprints should remain
embodiment, step 303 is performed based on determining               relatively similar to each other. The signal data stream is
similarity of transmitter IDs at the current and a previous          partitioned into a sliding set of fixed length time windows
time, as described in more detail below with reference to FIG. 45 (e.g., 10 minutes) ending at the current time. The two most
4. In some embodiments, steps 301 and 303 are performed by           recent time windows for an input signal data stream are deter-
the movement detection module 224 of the learning module             mined. A similarity function M defined over the interval [Oto
222.                                                                 1] is evaluated on these two windows. A classifier is then built
   In step 305 it is determined, whether the mobile terminal is      by imposing a movement threshold value -cMon the outcome
currently moving, based on the classification performed in 50 of the similarity function.
step 303. If not, then in step 307, a stationary state record is        In step 401, a current window is defined of one or more
updated. In an illustrated embodiment, step 3 07 is performed        contiguous signal data fields 203 from the signal data stream
based on the posterior probability of finding the transmitter        200 ending at the current time. In step 403 a previous window
IDs in a particular state, as described in more detail below         is defined having the same number of contiguous signal data
with reference to FIG. 5. After the stationary state is updated, 55 fields, but ending at a time earlier than the current time. Each
or if it is determined in step 3 05 that the mo bile terminal of the window therefore has w signal data fields. In some embodi-
user is currently moving, then in step 309 data for a transition     ments, the two windows overlap and include some signal data
state of the user is updated. In an illustrated embodiment, step     fields in both windows. In an illustrated embodiment, the
309 is performed based on the posterior probability of a             previous window defined in step 403 ends on the last signal
transition state duration for a given temporal feature, as 60 data field before the first signal data field of the current win-
described in more detail below with reference to FIG. 6A. In         dow defined in step 401. In some embodiments, each window
some embodiments, step 305 and step 307 and step 309 are             includes only one signal data field.
performed by the incremental state learning module 226.                 ln step 405 a similarity measure is determined for the signal
   In step 311, it is determined whether there is sufficient         data fields 203 in the two windows. Any similarity measure
historical data collected to make predictions of future transi- 65 may be used. In an illustrated embodiment using GSM and
tion states. For example, in some embodiments, different             WiFi streams, the similarity function is defined using cosine
movements are expected on different days of the week, or at          similarity, collllllonly used by many information retrieval



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systems. For the two time windows, the observations are                 field 258 of the stationary state record. Essentially, in step 507
grouped into 2 vectors vl and v2, respectively. Where i is an           the incremental state learning module 226 computes the pos-
index for the current sample time, the current window signal            terior distribution of P(zlvi). Each input can be decomposed
vl=vi, vi-1, ... , vi-w; and the previous window signal                 into a set of feature-value pairs, also called attribute-value
v2=vi-w-1, vi-w-2 ... vi-2w. The cosine similarity can              5   pairs. For example, a WiFi signal input at time ti can have a set
then be defined by Equation 1.                                          of Ki WiFi IDs represented as IDk, k=l to Ki and can be
                                                                        treated as a binary feature. The posterior distribution can be
      M~vl ·v2/(lvl Ix v21)                                   (1)
                                                                        estimated as given by Equation 2.
   In step 407, the similarity of the two windows is compared
to a movement threshold i:M If the similarity is greater than 10              P(zlvi)~P(z)xII1cc1, K,E'(IDklz)i(L1~1, zP(zj)x
                                                                                              0              0

                                                                                   II1cc1,K;P(IDklzj)                                (2)
the threshold, then in step 411 the classifier determines that                         0



the mobile terminal is not moving. Otherwise, in step 409 the         where Z is the number of stationary states in the set Z. The
classifier determines that the mo bile terminal is moving. After      conditional independent assumption that P(vilz)-II/ccc1 ,K,P
classification, the process ends; and control passes to step 305      (IDklz) is similar to the Naive Bayes (NB) condition. It is a
of process 300.                                                    15 reasonable assumption since sensor features (e.g., WiFi
   FIG. 5 is a flowchart of a process 500 to incrementally            SSIDs ), very often, are independently installed. This assump-
update a stationary state in step 307 for the process of FIG. 3,      tion works when each P(IDklz) is not equal to zero; otherwise
according to one embodiment. At the start of process 500 a            the likelihood probability for the input vector Pr(vilz)
current vector vi of wireless transmitter IDs is provided for         becomes 0. This is handled using two different consider-
updating a stationary state. When the first vector of wireless 20 ations. In a first scenario, if a large portion (e.g., 70%) of the
transmitter IDs is received, there are no stationary states; that     transmitter IDs in a input vector vi are missing from a cluster
is, the set Z of stationary states is empty. The set grows as         z, then the likelihood probability for that cluster P(zlvi)
stationary states are learned incrementally over time.                becomes 0. In the second scenario, only a small portion of the
   In step 501, it is determined whether there is another sta-        terms in the input vector are missing, given a stationary state
tionary state to compare to the current vector vi. If not, then in 25 z. Each of the missing terms IDk is assigned with a small
step 503, a new stationary state based on the vector vi is added      probability. This way, the overall likelihood will remain non-
to the stationary states data structure, e.g., as a new stationary    zero. In experiments, described in more detail below, each
state record 250. For example, the very first vector vi when the      missing IDk is assigned a value equal to a reciprocal of the
mobile terminal is not moving is added as the first filed in the      size of stream inputs observed so far.
first stationary state record 250. A stationary state ID z is 30         Thus, in the illustrated embodiment, to evaluate Equation
formed and stored in field 252, the wireless transmitter llJs in      2, in step 52L the next llJk in vi is obtained. In step 523, it is
vi are stored in field 254a, and a count of 1 is stored in field      determined whether the P(IDklz)=0, e.g., because that par-
256a. The probability field 258 is updated for a 100% prob-           ticular wireless transmitter ID has not before been observed in
ability of finding each transmitter ID in vi, given stationary        the current state z. If so, then in step 525 a small non-zero
state z. The update process is then complete; and control 35 value is assigned to the P(IDklz), e.g., the reciprocal of the
passes to step 309 in FIG. 3 to update a transition state.            size of the signal data stream up to the current time. In step
   If another stationary state exists, then in step 505 the sta-      527, it is determined if vi includes less that 70% of the
tionary state record for that stationary state z is retrieved. In     transmitter IDs already detected in stationary state z. If so,
step 507 the probability P(zlvi) is determined that the next          then control passes to step 531 to set the value of P(zlvi)=0, to
stationary state is the stationary state given the current vector 40 ensure that the record for the current stationary state z is not
vi of transmitter IDs.                                                updated.
   In step 509, it is determined if that probability P(zlvi) is          If it is determined that P(IDklz) is not equal to zero in step
greater than a cluster threshold 1:c, If so, then in step 511, the    523, or that vi includes 70% or more of the transmitter IDs in
stationary state record is updated, i.e., the current vector is       z, then control passes to step 529 to determine if there is
added to the cluster of transmitter ID sets associated with the 45 another IDk in vi. If so, control passes back to step 521 to get
stationary state. In an example embodiment, the cluster               the next IDk in vi. Otherwise P(IDklz) is non-zero for all k=l
threshold is a 10% probability. Thus is this embodiment, a            to Ki, and Equation 2 can be evaluated. In step 533 P(zlvi) is
probability of the current state z given the current vector vi        determined using Equation 2, which is a function of the
greater than 10% causes the current state to be updated to            P(IDklz) for k=l to Ki.
include the set of transmitter IDs in vector vi.                   50    FIG. 6A is a flowchart of a process 600 to incrementally
   In step 511 the stationary state record is updated. For            update a transition state for step 309 of the process of FIG. 3,
example, the vector vi is matched to one of the sets of trans-        according to one embodiment. The transition states provide
mitter IDs in transmitter set field 254. If an exact match is         the capabilities for performing temporal prediction, such that
found, then the associated count is incremented. If not, then a       given the past observations of transition states, the future
new transmitter set field 254 is added to the record with the 55 transition states can be predicted. There are two types of
exact set of transmitter IDs in vector vi, and its associated         transitions: self-transition; and transition from two different
count field is set to indicate 1. In some embodiments, prob-          stationary states. In a transitional model, the transition state
ability field 258 is also updated to indicate the new values for      space S includes all the possible pair of stationary states (i.e.,
P(IDlz). The update process then ends, and control passes to          S={ (za-zb) for a, b=l, Z}). The process starts by evaluating
step 307.                                                          60 the significance of the last known stationary state z. The
   If it is determined in step 509 that the probability P(zlvi) is    probability P(z) is also known as support for the stationary
not greater than the threshold i: 0 then control passes back to       state. If the support of the stationary state is bigger than a
step 501, described above, to determine if there is another           predefined minimum support, it is regarded as significant.
stationary state record already in the database.                      Different minimum support settings are evaluated in the
   In an illustrated embodiment, in step 507, the probability 65 described embodiments. It is assumed for purpose of illustra-
P(zlvi) is estimated based on the individual probabilities of         tion that the minimum support is 1%. If the stationary state is
each transmitter ID of vi given the stationary state, as found in     significant (e.g., has a probability greater than the minimum



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support), and if the subject is on the move, at the point of                 With the assumption of time feature independence, Equa-
recording the destination is not known yet. The information of            tion 2 can be expanded using Equation 3.
the From State and time context information is cached. Once
                                                                               P(si+l lsi, y, l>l ... l>B)~IIbcuoBP(slsi,y,l>b)!
the subject reaches a stationary state, if the cached From State                                                                             (3)
                                                                                    ~q~IwSIIbclwBP(sq lsi,y,l3b)
is not empty, a transition involving different stationary states     5
is updated. Otherwise, a self-transition is updated.                    To estimate the values of P(slsi,y,~b), first the probability
   Given the time and transitional information, the probabili-          P( si Isi,y,~b), also known as survival probability, is estimated.
ties of the next transition state given the previous transition         The survival probability means the probability that the sub-
state, P( si+ 11si), are updated using the temporal features and        ject stays in the same transitional state si at the next time tick.
past observations according to Equation 3.                           1o A normal distribution with meanµ and standard deviation a is
      P(si+ 1 lsi)~P(si+ 1 lsi. y, 131... l3B)                 (3)
                                                                        used to model a given observed distribution of duration values
                                                                        from y, as given by Equation 4.
where y represents the time duration for staying in si. A set of
B temporal features is obtained (~1 ... ~B). The temporal                    P(si lsi,y,l3b)~ l-f_ ,o_µ(µ,o)dx
                                                                                                   00                                  (4)
feature-value pairs are not allowed to include each other, as 15 An example illustrates the process. It is assumed for purposes
described in more detail below with reference to a precedence        of illustration that the subject is in a transition state sl at time
graph; aud thus, they can be assumed lo be conditionally             ti. From the past data, for a time feature value of ~j (e.g.,
independent.                                                         TF!Bl:Morning), it is known that the subject transitions to
   To allow the assumption of conditional independence, the          another state s2, s3 etc. in 20 minutes on average (i.e., µ=20)
dependencies are removed using a precedence graph. Given a 20 with standard deviation of 5 minutes (i.e., a=5). If the subject
time instance ti, it is possible to have multiple matching           has already stayed in sl for 25 minutes, the probability of
temporal feature-value pairs. It is desirable to select only         remaining in sl reduces to 16%, which also means that the
those that are discriminative or important. The precedence           probability of changing to another transition state is 84%.
graph encodes the importance relationships. The graph                Knowing the survival probability, the total probability of
defines a partial-order for all the temporal feature-value pairs. 25 going lo other lrausilional slates P(s;,silsi,y,~b) is known as
FIG. 6B is a diagram of precedence for multiple temporal             the remaining probability-I-survival probability. Depend-
features, according to one embodiment. The precedence                ing on the meaning of si, probability of transiting to other
graph 600 has anode for each value of each feature. The nodes        transitional states is computed differently. In a first situation,
for the values for the first feature are morning node 651a           si represents moving from one stationary state zl to a differ-
representing Bl from Table 1, afternoon node 651b represent- 30 ent stationary state z2. Since the destination is specified,
ing B2 and night node 651c representing B3. The nodes for            P(s;,silsi,y,~b) represents the probability of reaching z2 (i.e.,
the values for the second feature are weekend node 652a              s=(z2-z2)). In a second situation, ifsi represents staying in a
representing B4, and non-weekend node 652b representing              stationary state, then P(s;,sil si,y,~b) represents the total prob-
BS. The nodes for the values for the third feature are weekend       ability of changing to other transitional states, given by Equa-
morning node 653a representing B6, weekend afternoon 35 tion 5
node 653b representing B7 and weekend night node 653c
representing B8. The nodes for the values for the fourth                     I'( S-"siIsi, y,i3b}~ L<F1, s,-l'( s~ sq Isi, y,i3bI
                                                                                                        0
                                                                                                                                       (5)
feature are vacation node 654a representing B9, and non-             If it is known that si is about to transit to sq, the duration of
vacation node 654b representing BlO. The nodes above domi-           staying at si becomes irrelevant, and hence P(s=sqlsi,y,~b))
nate connected nodes below, e.g., are more useful descrip- 40 equals to P(s=sqlsi,~b ), which can be modeled by a multino-
tions that include and replace the less useful description.          mial distribution fit to historical data. The parameters of the
   With the precedence graph, the time instance ti can be            distribution can be maintained in the database 230, e.g., in one
better characterized. Table 2 illustrates the process of extract-    or more transition state records 260, when new observations
ing the time features.                                               arrive.
                                                                     45   Thus in process 600, depicted in FIG. 6A, the most recent
                                  TABLE2                              stationary state z is determined in step 601. In step 603, it is
                      Temporal F eatur~ extraction.                   determined if P(z) is greater than the minimum support
                                                                      (S-min). If not, a transitional state from this stationary state is
                                                 Extracted Bin        not sufficiently important, and the process ends without
Time              Matched Bin Value IDs          Value             50 updating a transitional state. Otherwise the duration y is incre-
8AM Jan-09-09     {Morning, Non-Vacation}        {Morning}            mented by the tick time (e.g., 10 minutes). In step 607 it is
8AM Jan-10-09     {Morning, Weekend              {Weekend Morning}    determined whether the mobile terminal is moving based on
                  Morning, Non-vacation}                              the moving classification received from the movement detec-
8AM Jan-12-09     {Morning, Vacation}            {Vacation}
                                                                      tor. If so, then the From State (zl) is set equal to the last
                                                                   55 stationary state z. The precise transition state is unknown
First the time instance is matched to all possible temporal           because the mobile terminal has not yet arrived at the To State,
feature-value pairs. The precedence graph is checked to               and the process ends.
eliminate those values that have been dominated. For                      Ifit is detennined in step 607 that the mobile tenninal is not
example, 8 A.M. on the Jan. 9th is a normal work day morn-            moving, then in step 611, the To State (z2) is known as the
ing, it matches two feature-value pairs (TFlBl :Morning and 60 current stationary state z and is set equal to that value. In step
TF4B10:Nonvacation). Since Morning is more discrimina-                613, it is determined whether the From State has been set. If
tive than Non-vacation, Morning has higher precedence and             not, zl is null and control passes to step 615 to set the current
is used as the final time feature bin value extracted. ln the end     transition state si to the self-transition with the From State the
of the extraction process, only a set of one or more important        same as the To State z2, both equal to z. If the From State had
feature-value are left to represent the time interval from leav- 65 been set, then zl is not null and in step 617 the transition state
ing stationary From State (zl) and arriving at stationary To          si is set to the transition from state zl to z2=z. The From State
State (z2).                                                           zl is set to null. In either case, control passes to step 619 to



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update the transition state si with duration y, current time           z2 is unknown, so si is also unknown. The last self-transi-
feature B-Tnsome embodiments the duration is restarted, e.g.,          tional state is known at a previous time t0, and is represented
set to zero; thus, a self transition will always have duration         as sO. In this case, the prediction starts from the last self-
equal to the tick time. In some embodiments, the self transi-          transitional state. The time interval from the last stationary
tion duration is not reset to zero until the mobile terminal is 5 state is made discrete into a set of time ticks (e.g., 10 minutes
classified as moving again.                                            each). Based on the first-order Markov assumption, the most
   In step 621 the probability of the next transition state given      probable transition is assumed at each step, which is an imple-
the current transition state P(slsi) is determined to support          mentation of the well-known Viterbi algorithm to compute
predictions. Then the process ends and control passes to step          the most probable transitional state at query time ti. The
311 of process 300 in FIG. 3.                                       10 Viterbi algorithm is a dynamic programming algorithm for
   In the illustrated embodiment, step 621 includes steps 623          computing the Viterbi path, which corresponds to a sequence
to step 631. In step 623 the mean µ and standard deviation a           of transitional state sequence with maximum probability. At
of duration in the transition state si for time feature ~ is           query time ti, there are m time ticks from last stationary state.
determined, e.g., extracted from field 267 and field 268 in            The best transition state at time ti has a probability of: P=max
transition state record 260. In step 625 the survival probability 15 (P(sm)). The states ateachearliertimetickj can be defined as:
P(sil si) is determined based onµ and a, e.g. using Equation 4.        P(sj)=max(P(sj lsj-1 )). For the starting state sO,the following
In step 627 it is determined whether the current state si is a         is set: P(sO=(zO-zO))=l and P(sO;,,(zO-zO))=Osince it starts
self-transition state in which zl =z2. If not, then in step 629 the    from a self-transition in a known stationary state z0. In FIG.
probability of returning to the most recent stationary state           7A, current time ti is simplified as current time t; and si is
(not transitioning) is determined as the remaining probability 20 represented as St.
1-P(silsi), and the process ends.                                          Thus in step 705, the most recent stationary state z0 and the
   If it is determined in step 627 that the current state si is a      associated time t0 are determined. In step 707 it is determined
self-transition state in which zl=z2, then duration does not           if the movement detector has classified the mobile tem1inal as
matter and control passes to step 631 to determine the likely          moving. If not, then si=(z0-z0), and step 701 is complete.
transitions to different stationary states based on historical 25          If it is determined in step 707 that the movement detector
distribution of transition state changes. For example a multi-         has classified the mo bile terminal as moving, then in step 711,
nomial distribution is fit to the historical data based on the         the number of time ticks since the last stationary state is
prior state and counts in field 270 in each transition state           determined using Equation 7.
record 260. This distribution is used to apportion the remain-
                                                                                m~(ti-tO)itick                                           (7)
ing probability 1-P( silsi) among the other possible transition 30
states sq, where q;,,i, and the process ends.                          ln step 713 the most probable transition state is determined at
   FIG. 7A is a flowchart of a process 700 to predict the next         each time tick, e.g., j=l tom, according to Equation 8.
transition state for step 315 of the process 300 of FIG. 3,
                                                                               P(sj)~max(P(sklsj-l,y,13) for k~l to SJ                   (8)
according to one embodiment. Given a prediction time win-
dow that includes x number of time ticks after current tick ti, 35 Where max is an operator that returns the maximum value of
the prediction task can be formalized as P(si+l              .. si+    a set of values indicated in the argument. For a given transi-
xlsO ... si), which represents the past transition state obser-        tion state sj-1 of duration y and time feature B,there is a finite
vations s0 ... si and future observations si+ 1 ... si+x. Directly     probability of remaining in the same transition state and a
estimating this probability distribution is not feasible since         finite or zero probability of changing to each of one or more
the space for storing the joint distribution is overly burden- 40 different transition states. These state are represented in
some. In the illustrated embodiments, the first-order Markov           Equation 8 as sk, k=l to S (the total number of transition
chain assumption is made, such that the probability of observ-         states). The max operator compares all these probabilities,
ing transition state si+l at time tick ti+! is only conditionally      many of which are zero, and selects the most probable one as
dependent on the transition state si at ti. The prediction task        sj. At the last time step, the most probable current transition
can then be simplified and effectively performed as given by 45 state si-St is computed and step 701 is complete.
Equation 6.                                                                In step 703 the entire Viterbi path into the future is returned,
                                                                       not just the transition state at the end time tX. Given the query
       P(si+ 1 ... si+xls0 ... si)~ITj~itoi+xP(sj+ 1 lsj)
                                                                       end time tX, the time is divided from the last known stationary
   The first-order Markov assumption is reasonable since in            state z0 (or the current transition state si) again into a discrete
the practical situations, the locations where the mobile termi- 50 nrm1ber(represented by the number X) of time ticks (e.g., 10
nal is about to go are highly associated with the current              minutes), and output the transition state sequence with the
location, but less so for the previous locations. Since an effi-       maximum probability. Thus in step 721 the number X of ticks
cient process for computing Pr(si+l lsi) has been described            is determined using Equation 9.
above in step 621, the prediction task becomes feasible. The
                                                                               x~(tX-tO)itick                                            (9)
prediction task in process 700 is separated into two sub-tasks. 55
The first task in step 701 is to predict the most probable             And in step 723, the most probable sequence of transition
transitional state si at current time ti. The second task in step      state is determined at each time tick, e.g.,j=l to X, according
703 is to predict the most probable state sequence for the             to Equation 8, above.
future time window x.                                                      FIG. 7B is a diagram 750 of a Viterbi path among most
   In step 701, there are two possible scenarios considered. In 60 probable transition states, according to one embodiment.
the first scenario, at the point of prediction ti, the movement        Time increases to the right as indicated by time axis 752. A
detection module 224 does not detect any movements; and the            particular time is represented by a vertical line segment at the
incremental state learning module 226 indicates one of the             discretetimetO 760, timetl 761, timet2 762 and timetX 763.
stationary states zi. Therefore, the transitional state represents     The distribution of transition states at each time are repre-
a self-transition si-(zi-zi). In the second scenario, the move- 65 sented by nodes, e.g. node 770 at time tO, nodes 771a, 771b,
ment detection module 224 reports the mobile terminal is on            771c at time tl, nodes 772a, 772b, 772c at time t2 and nodes
the move, at the query time ti, and the final stationary To State      773a, 773b and 773c at time tX, collectively referenced here-



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inafter as transition state nodes 777. The probability of chang-       Experiments.
ing from one transition state to another is presented as a                Extensive experiments with certain embodiments show
number next to a dashed arrow 781 or solid arrow 783 con-              that the quality of the location-states learned by iLoc is better
necting the initial transition state to the next transition state.     than the quality of the other known approaches. It is also
The most probable path at each time step is indicated by the 5 demonstrated that when learning processes of other
solid arrow 783. Each transition state node 777 indicates a            approaches failed to produce reasonable predictions, iLoc
stationary From State and stationary To State in a top row.            still provides good forecasts. As for einciency, iLoc passes the
Each transition state node 777 also indicates a probability of         data only once, whereas learning processes of other
being in that transition state and the previous transition state       approaches require multiple iterations. In fact, iLoc does not
                                                                    10
that is most likely to change to that node. The most likely            require caching any data records on the mobile device, which
previous transition state can be determined, for example,              fits well with many data stream processing models.
from the data in the prior state and count field 270 in the               In the experiment, certain embodiments were implemented
transition state record 260.                                           using Python. The run time reported in these embodiments
   FIG. 7B illustrates a temporal range query. In this example, 15 are measured from a P4-2 GigaHertz (GHz, 1 GHz=109 Hz,
there are X=3 time ticks. Each node in this graph represents a         I Hz=! cycle per second) PC with Linux operating system
transitional state sx indicated as a pair of stationary states.        (OS). For comparisons, a Latent Dirichlet Allocation (LDA)
Therefore, at the end of the query time ticks, the most prob-          model and a hidden Markov model (HMM) are also imple-
able (48%) transitional state (z2-zl) results. If one back-            mented. The LDA and HMM models are generated by utiliz-
tracks using the previous best node, one obtains the best 20 ing various statistical tools from MATLAB™ of MATH-
sequence from time t0 to time tX to be: {(z0), (z0-72), (z2),          WORKS™ of Natick, Mass.
(z2-zl)}, which means that the mobile terminal is predicted               Although LDA has shown very good performance in text
to transit to the stationary state z2, and then start transiting to    mining domains, there are a few problems when applied lo
the stationary state zl.                                               location context. The first problem is that LDA does not
   The complexity of the system represented by the processes 25 consider time dependencies. Each record/document is
depicted in FIG. 3 through FIG. 7A is estimated here. As               assumed to be independent or interchangeable. Hence, LDA
determined in the experiments described in more detail                 cannot be directly used for predicting future location slates.
below, the complexity is very manageable and scales well to            The second problem is that LDA docs not have the semantic
a large number of users. Thus a reasonable number of servers           concept of stationary states, which represent the places that a
and hosts can service a large number oflocation context users. 30 user stays. In a LDA model, a WiFi source encountered while
   ln terms of storage complexity, since the set of transitional
                                                                       moving will appear in both the starting and final stationary
states S consist of all possible pair of stationary states, space
                     2                     2                           states, which leads to poor clustering performance. Further-
on the order of IZl , indicated as O(IZl ), is useful. To main-
                                                                       more, it is difficult to incrementally update the LDA model,
tain the transitional states, up to all the pair-wise transitional
behavior from all the transitional states (P(sklsi,y,~j)) would 35 especially in deciding the number of clusters and estimating
be useful. That involves 0(1 SI2) space. If there are B temporal       the parameters. Although other non-model based clustering
feature-value pairs, the overall storage requirement is                algorithms like K-means or hierarchical agglomerative clus-
bounded by O(BxlSl 2). For example, if 10 stationary states            tering (HAC) can also be applied, they have been shown less
exist, there may be 100 possible transitional states and 10,000        accurate than model-based methods; and, these non-model
possible pair-wise transitions. Fortunately, in practice, many 40 based methods also suffer from similar problems to those of
of the transitional states are not possible (e.g., from 'work'         LDA.
directly to 'vacation hotel'), which drastically reduces the              HMM is also a generative model, such that each observa-
number of pair-wise transitions. Therefore, the models can be          tion is generated by a latent state variable. The latent state at
efficiently stored.                                                    a time point also depends on its previous latent state. The
   In terms of computational complexity, for every sensor 45 parameters in the HMM can be estimated by using Baum-
input v that goes through the incremental state learner module         Welch algorithm, which is a generalized expectation maxi-
222, the movement detection module 224 uses ON) time for               mization (GEM) algorithm. Although modeling state transi-
similarity computations. During the state mining process, a            tion is part of HMM, the states do not physically correspond
hash table is built on the transitional states S, and possible         to the location states. This leads to poor performance in pre-
                                                             2
pair-wise changes among them. It takes O(log(BxlSl )) on 50 dicting future movements. For HMM, the observation
average to update the models. Therefore, for each input, the           sequence is not available at the point of prediction. For
cost is O(lvl)+O(log(BxlSl 2)). If the size of each input is           example, only given the first 2 records, it is desirable to
small, the movement detection has approximately constant               predict the transition between the two location states. Without
cost. Therefore, the cost of processing n stream inputs is O(n         providing future observations, HMM is very unlikely to pre-
log(BxlSl 2)). For the large number of inputs and small num- 55 dict the transition.
ber of transitional states, the overall complexity is almost              The experiments employ GSM and WiFi sensor data,
linear with number of inputs.                                          because these two types of data have clear location sense, and
   The overall complexity of the prediction module depends             are widely available. Experimental data was obtained by con-
on how many pair of the transition states are involved between         tinuously monitoring 3 users for a period of 66 days.
two time ticks. In the worst case it can be up to IS12.Hence the 60       A data collection client serving as location context client
worst case complexity is O(mlSl 2). In practice, not all the           103 is implemented using Python for S60, and runs on S60
transition states between two time ticks are possible because          series mobile phones from NOKIA of Espoo, Finland. The
of the time constraints, which is especially true when the             client periodically uploads the data to a server. The overall
number of time ticks X is small. Therefore, the prediction             service is also known as NOKIA Simple Context service.
process is expected to be very efficient when the prediction 65 FIG. SA is a diagram oflocation context data 800 at a client
time window is small (e.g., 1 hour), but less efficient when it        process, according to one embodiment. In the illustrated
is big (e.g., 1 day or 1 week).                                        embodiment, FIG. SA shows a screen capture of the client



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rnnning on a N95 mobile phone from NOKIA. The client is                Table 4 shows the default parameter settings used by iLoc.
highly customizable, with the capabilities of monitoring mul-      For different components, the parameters have different sen-
tiple sensors (GSM, WiFi, GPS, Bluetooth, etc.) at the same        sitivity. For instance, the threshold settings in movement
time. One interesting feature of the client is an adaptive GPS,    detection module and stationary state portion of the incre-
which uses the same movement detection module described 5 mental state learning module 226 are less sensitive than the
above to control the GPS sensing. It can smartly turn on the       parameters used in the transitional state portion of the incre-
GPS when the device is on the move, and switch it off other-       mental state learning module 226. Therefore, in the later part
wise. Although the GPS data is used to geo-tag the WiFi and        in this section, the performance implications in changing the
GSM signal sources in the certain embodiments involved in          parameter values are evaluated.
the experiments, it is anticipated that other embodiments 10
further utilize the GPS data in the incremental state learning                                      TABLE4
module 226.
                                                                                             Default parameter settings
   FIG. 8B is a diagram oflocation context interface 850 at a
server process, according to one embodiment. The interface         Component                             Parameter               Values
850 displays the last few records of a user in panels 852, 854, 15
856 and 858. Panel 852 displays data that indicates the use        Movement detection module             movement                 10%
                                                                                                         threshold, M
identifier (ID) and other context information, such as appli-      Incremental State learning module     cluster threshold T,c    10%
cations rnnning or messages sent. Panel 854 displays data that     (stationary state update)
indicates a list ofWiFi and GSM transmitter identifiers (IDs).     Incremental State learning module Minimum Support               1%
Panel 856 displays a map of the user environs based on a last 20 (transition state update)               Temporal Features       Tahle 1.
                                                                   State Prediction Module               Time tick             l0minutes
GPS position. Panel 858 displays data that indicates alloca-
tion of computer-readable storage on the mobile terminal.
   Once the data sent from the client is stored on the server,         FIG. 1 0A is a graph 1000 of a ratio of moving periods to
variousAPis (e.g.,API 240) can be used to retrieve/download        non-moving periods for a mobile terminal of User 1, accord-
the data. Although the embodiments employed in the experi- 25 ing to one embodiment. The horizontal axis 1002 is time in
ments are built on a PC, the code can also be directly rnn on      days. The vertical axis 1004 is ratio of time that the mobile
the mobile client in a real-time mode. A standard PC is used       terminal is moving divided by the time that the mobile termi-
to benchmark the performance against other alternative or          nal is stationary on that day. Trace 1010 depicts the detection
prior art approaches like LDA and HMM.                             of movement based on the WiFi data stream; and trace 1020
   During the experimental time period, thousands of distinct 30 depicts the detection of movement based on the GSM data
WiFi access points and GSM cell IDs have been observed.            stream. The daily movement ratio for User 1 shows the effec-
FIG. 9A and FIG. 9B are maps of transmitter coverage for           tiveness of the movement detection module 224. It is seen that
GSM cells and WiFi access points, respectively, according to       movements are not limited only to the weekends, but include
various embodiments. These cells are geo-tagged based on           the weekdays as well. User 1 confirmed that the movement
one user's data and plotted on a map image 901 of the experi- 35 detection module 224 can correctly capture large move-
mental area. The GSM signal source locations 903 and WiFi          ments-especially for commuting to different locations. In
signal source locations 905 cover a very large geographic          Table 5, the average movement ratio per day is computed for
region. It is noted that it is not sufficient to only use an       all users. Note that the WiFi data stream can capture more
individual signal sources (e.g., a single GSM cell ID) to          movements than the GSM data stream. Thls is because a WiPi
represent a stationary state. Many of these signal sources do 40 access point normally has smaller spatial coverage than a
not correspond to a stationary state (e.g., they are discovered    GSM cell, and hence this data is more sensitive to the move-
during commuting); and many of them represent the same             ments. However. the difference is not very large. which indi-
stationary state (e.g., multiple WiFi access points in one         cates that GSM cells can also be used for movement detec-
scan).                                                             tion.
   In Table 3, data sets for the users during the period of 2 45
months are summarized. Table 3 shows the total number of                                            TABLES
records and the number of distinct signal sources (e.g., trans-
mitter IDs) for each user. Notice that the number ofrecords                                  Movement ratio per day.
for WiFi is less than GSM. This is because a WiFi scan is more             Data Stream Type           User 1          User 2    User3
power consuming than a GSM scan, and hence WiFi scans are 50
done at slower rate than GSM scans. For these users, WiFi                  GSM                         9.2%           16.2%     10.1%
                                                                           WiFi                       12.4%           24.9%     14.2%
scamring rate is set between 2 and 5 minutes, and the GSM
scamring rate is set between 30 seconds and 2 minutes. In the
reminder of this section. focus is on User 1's data to under-          FIG. lOB is a graph 1050 ofnumberof stationary states for
stand how well each component works. All users' data are 55 a mobile terminal accumulated incrementally over time,
included to summarize the overall perfornrnnce.                    according to one embodiment. The horizontal axis 1002 is
                                                TABLE 3
                                        Experimental Data Seta

                      User 1                              User 2                              User3

Type    /-I-records     /-I-Lra.m;miLLers   /-I-records     /-I-tra11smiUers    /-I-records     /-I-tra11smiUers


GSM      88,204                  643         50,995                1,137         67,777                 625
WiFi     41,995                2,936         23,818                3,669         34,921               3,718




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time in days, as inFIG. l0A. The vertical axis 1054 is number          clusters to account for 95% of stationary time for different
Z of stationary states. Trace 1060 depicts the growth in sta-          users from iLoc. Furthermore, to apply HMM and LOA effec-
tionary states based on the WiFi data stream for User 1; and           tively, the number of iterations also is determined. For HMM,
trace 1070 depicts the growth in stationary states based on the        the maximum number of iterations is set to be 100. For LOA,
GSM data stream for User 1. Graph 1050 clearly demon-             5    a Gibbs sampler approach to training the LOA model is used.
strates that the stationary state update process of incremental        The number of the iterations for the Gibbs sampler is set to be
state learning module 226 can incrementally discover new               500.
stationary states as data arrives. Note that the number ofWiFi
stationary states is larger than the number of GSM stationary                                        TAI3LE 7
states. This is also expected since many places nowadays have     10
free WiFi access, but many of these access points might be                 Nwnber of stationary states to account for 95% of stationary time.
under the same GSM cell. In Table 6, the total numbers of the
stationary states discovered by all 3 users are summarized.                  Data Stream Type          User 1         User 2         User3

                            TABLE 6                               15
                                                                             GSM                          6              23             10

                  Total number of stationary states.                         WiFi                         5              24             12


      Data Stream Type        User!          User 2    User 3

      GSM                       46              95      58             FIG. 12A and FIG. 12B are graphs 1200 and 1250 of time
                                                                  20
      WiFi                      86             109       83         to build probability models of transition states compared to
                                                                    other approaches, for GSM cells and WiFi access points,
   FIG. llA and FIG. 11B are graphs 1100 and 1150 of                respectively, according to some embodiments. The horizontal
cumulative distribution functions of most frequent stationary       axis 1202 indicates bins for the user and modeling approach.
states for a mobile terminal accumulated incrementally over 25 The vertical axes 1204 and 1254 indicate the time in seconds.
time for GSM cells and WiFi access points, respectively,            The model build time for GSM data stream is shown in graph
according to some embodiments. The horizontal axis 1102 is          1200 for the HMM approach for each of the three users as bars
time in days. The vertical axis 1104 is fraction of total obser-    1210a, 1210b and 1210c, collectively referenced hereinafter
vations that are attributable to the sum of a given stationary      as bars 1210; for the LOA approach as bars 1220a, 1220b and
state and all more frequent states. In graph 1100 for the User 30 1220c, collectively referenced hereinafter as bars 1220; for
1 GSM data stream, trace 1111 depicts the fraction of obser-        the iLoc embodiments as bars 1230a, 1230b and 1230c, col-
vations attributed to the first state, trace 1112 to the first and  lectively referenced hereinafter as bars 123 0. The model build
second most frequent stationary states, trace 1113 to the first     time for WiPi data stream is shown in graph 1250 for the
through third most frequent stationary states, trace 1114 to the    HMM approach for each of the three users as bars 1260a,
first through fourth most frequent stationary states, trace 1115 35 1260b and 1260c, collectively referenced hereinafter as bars
to the first through fifth most frequent stationary states, and     1260; for the LOA approach as bars 1270a, 1270b and 1270c,
trace 1116 to the first through sixth most frequent stationary      collectively referenced hereinafter as bars 1270; for the iLoc
states. The difference between traces gives the fraction attrib-    embodiments as bars 1280a, 1280b and 1280c, collectively
utable to the additional stationary state. In graph 1150 for the    referenced hereinafter as bars 1280. Even with only 100 itera-
User 1 WiFi data stream, trace 1151 depicts the fraction of 40
                                                                    tions, HMM takes the longest time (bars 1210 and 1260) to
observations attributed to the first state, trace 1152 to the first
                                                                    train. This also shows that iLoc (bars 1230 and 1280) is about
and second most frequent stationary states, trace 1153 to the
                                                                    2 to 1Otimes faster than LOA with Gibbs sampling (bars 1220
first through third most frequent stationary states, trace 1154
to the first through fourth most frequent stationary states, and    and  1270). The performance gain is mainly because iLoc is an
trace 1155 to the first through fifth most frequent stationary 45 one-pass algorithm, and others require multiple iterations
states. These graphs show how the stationary states are dis-        over the data.
tributed in frequency of occurrence. Each of the GSM and               The quality of clusters from different approaches was also
WiFi graphs show a big stationary state that consistently has       examined. For User 1 thetop-5 clusters (WiFi data stream) are
more than 50% of the probability. After going through the           compared to those from HMM and LOA in Table 8, which
states manually, this state clearly corresponds to the Home 50 shows the top-3 WiFi access point IDs from each learning
state. The top-5 for WiFi and top-6 for GSM consistently            approach. To the user, these access point IDs can be easily
account for more than 95% of the time in each day. These            associated with some semantic meaning. In Table 9, the user
states correspond clearly to Work, and other frequently vis-        tags these clusters based on the top ten WiFi IDs. ForiLoc, the
ited places.                                                        user is able to identify and distinguish several interesting
   HMM and LOA learners are not incremental learners. To 55
                                                                    places, including home, work and a friend's home. Also, iLoc
provide a favorable comparison for these alternative
                                                                    correctly clusters the WiFi access point IDs near the user's
approaches, the HMM and LOA are trained with the full two
months of data, even though such results would not be avail-        usual  lunch and Gym locations. Table 9 also shows the prior
able for 66 days. Another difficult question is how to decide       probabilities (support) of each cluster, which represents the
the number of clusters for the HMM and LOA approaches. 60 degree of importance of each cluster. The user agrees with the
There are different heuristics proposed in the literature. Here,    iLoc clusters associated with stationary sates. However,
a very good estimate is provided by utilizing the results from      HMM and LOA carmot clearly separate these stationary
iLoc. The number of clusters for HMM and LlJA is based on           stales. For example, the WiFi ID "Home" appears in a few
the top stationary states that cover 95% of the stationary time     clusters. If these HMM and LOA clusters were selected as
of a user. The assumption is that, if either HMM or LOA will 65 stationary states, the transitional model is severely affected,
outperform iLoc, that outperforming model should discover a         leading to poor prediction performance. Similar clustering
similar set of stationary states. Table 7 shows the number of       behaviors are observed for the other two users.



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                                     25                                                                 26
                                           TABLE 8
           Top three WiFi IDs (SS!Ds) for stationary states by various approaches.

Approach   State 1           State 2         State 3               State 4             State 5

iLoc       YYHome,           WANO            HotelWireless         Aquarium            Glenbrook
           Disha.            Kelevala        Multi-Point Access    linksys.            Homelinksys
           Dua               noklabwl        SEASONS INN           Arthur              Kwan AP
H:v!M,     YYHome,           Kelevala,       YYHome,               Aquarium,           Aquarium
           Disha,            WANO,           HotelWireless,        dungeon,            Dungeon
           HotelWireless     noklabwl        Dua                   Due Net             WANO
LDA        WANO,             YYHome,         Disha,                Lee9,               YYHome
           Kelevala,         Disha,          YYHome,               YYHome,             D11a
           noklabwl          Garnmavista     Dua                   Gamavista           Disha




                                       TABLE 9
              Location context for stationary states by various approaches.

Approach   State 1         State 2         State 3       State4              State 5

iLoc       Home(71%)       Work(22%)       Lunch(2%)
                                                 Friend Home                 Gym (0.3%)
                                                 (1.5%)
H:v!M,     Home(49%)       Work(26%)  Home (18%) friend Home,                friend Home,
                                                 Work(6%)                    Work (1 %)
LDA        Work(24%)       Home (19%) Home (19%) Home (19%)                  Home (19%)



   To fully test out the transitional model and the prediction             can be utilized for many real- life applications (e.g., Ad-serv-
framework, a continuous set of prediction queries was formed               ing). Although the illustrated embodiments are fully incre-
                                                                        30
automatically. In this setting, the inputs from a data stream              mental models, statistics are assembled over several days to
were replayed sequentially. At each sampling point, the                    populate the posterior probabilities. The predictions were
movement detection process is invoked and two types of                     performed continuously on exactly two months of data. For
queries are formed. The first query type is called non-moving              the predictions, if a predictor refuses to make a prediction, the
query (and labeled Qtl ), such that if a user is not moving, a 35 predictor is considered to not have sufficient information to
query of 60 minutes time range was made. The prediction                    make the prediction, and it is not part of the query load. This
module output a most probable transition state every l 0 min-              is reasonable since the goal is to have very accurate predic-
utes until the user started to move again or the 60 minutes                tions rather than very broad predictions. To gain some
prediction window elapsed. The accuracy was computed at                    insights to the prediction process, daily prediction for User 1
each time tick by comparing the predicted transitional state s 40 were examined. If there's no predictions made for a day, it is
against the stationary state zO. A prediction was considered               treated as correct choice (i.e., 100% correct for the day).
correct ifs represents the self-transition s=(zO-zO). The sec-                FIG. 13A through FIG. 13D are graphs 1300, 1320, 1340
ond query type is called moving query (and labeled Qt2), such              and 1360 of prediction accuracy for moving and non-moving
that if the user was on the move, starting from the most recent            transition states for GSM cells and WiFi access points,
stationary state z0, a time range was formed that lasts until the 45 respectively, according to some embodiments. The horizontal
user reaches another stationary state zl. During this time                 axis 1302 is time in days. The vertical axis 1304 indicates the
range, s was predicted every 10 minutes. The accuracy was                  correct prediction rate (1= I 00% correct prediction) for each
measured at each time tick by comparing the predicted tran-                day at three different time ranges ofl 0 minutes per tick: 1 tick
sitional state s against the correct transition between two                (10 minutes), 3 ticks (30 minutes) and 6 ticks (60 minutes).
stationary states z0-zl. Table 10 shows the query load for 50 Graph 1300 depicts tick 1 predictions as trace 1310a, tick 2
both types of queries.                                                     predictions as trace 1310b and tick 6 predictions as trace
                                                                           1310c for Qt! queries of User 1 based on GSM data stream.
                                                                           Graph 1320 depicts tick 1 predictions as trace 1330a, tick 2
                               TABLE 10
                                                                           predictions as trace 1330b and tick 6 predictions as trace
            Prediction request (query) load during experiments.         55 1330c for Qt! queries of User 1 based on WiFi data stream.
                                                                           Graph 1340 depicts tick 1 predictions as trace 1350a, tick 2
                       User 1              User 2             User3        predictions as trace 1350b and tick 6 predictions as trace
     Type          Qtl       Qt2       Qtl        Qt2     Qt!       Qt2    1350c for Qt2 queries of User 1 based on GSM data stream.
                                                                           Graph 1360 depicts tick 1 predictions as trace 1370a, tick 2
     GSM          7,973      272      4,832       142    5,292      102 60 predictions as trace 1370b and tick 6 predictions as trace
     WiFi         7,058      359      4,409       181    5,307      124
                                                                           1370c for Qt2 queries of User 1 based on WiFi data stream.
                                                                              Predictions based on a GSM data stream were not as good
   'lhese two query types cover many use cases. A non-mov-                 as those based on a WiFi data stream. The main reason is that
ing query essentially asks how long a user will be staying in              GSM cells cover larger spatial regions. Qt! predictions
the same stationary state, and a moving query asks if a user is 65 mainly test the self-transitions for different stationary states.
about to transit and to which stationary state. If iLoc can                The stationary states from a GSM data stream can sometimes
consistently provide accurate prediction for both queries, it              mix-up different stationary states if they are nearby. As a



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result, the self-transition model for GSM is not as good as the            transitions other than self-transition can be observed. For
one for WiFi. However, even for GSM, iLoc is still able to                 instance, statel is able to transit to state3 with 63% of prob-
achieve 62% overall accuracy. For WiFi data stream, iLoc                   ability. However, given the semantic meaning of the states
performs very well, and achieves 73% overall accuracy.                     shown in Table 9, they are essentially the same state. Similar
   Some days, the accuracy of predictions for Qt2 queries               5 conclusions can be drawn for other transitions. Therefore, to
shown in graph 1340 and 1360 is not very good (e.g., close to              have a fair comparison, only the cluster/stationary states from
0). After consulting with the users, it turns out that these days          LDA and HMM are included. As can be observed from the
mostly are weekends and vacations. Predicting these days are               results, especially for the query type Qt2, there are some
challenging due to irregular movements. However, being able                predictions for HMM and LDA. However, the accuracy is still
to differentiate these days from normal week days can                   10 far behind the iLoc with default parameters (iLoc-default).
improve the prediction accuracy for those days. The GSM                    This can also be observed from the average accuracy for the
predictions were again worse than WiFi predictions. There-                 corresponding method listed below the approach name. For
fore, it is useful for the incremental state learning module               this set of experiments, since the full set of data is used to train
stationary state update process to discover the stationary                 HMM and LDA, any incremental learning methods for HMM
states accurately.                                                      15 and LDA cannot outperform the results shown for iLoc. Fur-
   Compared with HMM and TDA in the next set of experi-                    thermore, being able to easily plug-in different clustering
ments, it became more evident that iLoc had superior perfor-               methods, iLoc is more flexible and open.
                                                                                                   TABLE 11
                                                                            Prediction accuracies for different approaches and settings.

                                                                              l..."ser1                         User 2                         User 3

                                                   Approach           Qt!                 Qt2            Qt!               Qt2          Qt!               Qt2

                                                   average      GSM     WiFi       GSM      WiFi   GSM     WiFi      GSM      WiFi    GSM   WiFi    GSM     WiFi

                                                   iLoc (def)   62%         73%     25%     84%    62%         64%   26%      44%     71%     79%   68%     81%
                                                   61%
                                                   LDA          49%         72%     18%     22%    55%         71%    6%         2%   61%     68%   5%      11%
                                                   37%
                                                   HMM          42%         66%     42%     21%    46%         64%   20%         8%   58%     73%   2%      21%
                                                   39%
                                                   iLoc-0       59%         65%      9%     42%    61%         67%   6%       25%     70%     74%   42%     41%
                                                   47%
                                                   iLoc-2       68%         72%     27%     90%    61%         63%   35%      50%     73%     79%   94%     91%
                                                   67%
                                                   iLoc-5       59%         73%     58%     95%    48%         60%   52%      72%     68%     79%   81%     93%
                                                   70%
                                                   iLoc-none    68%         76%     10%     16%    66%         66%   13%      35%     83%     84%   8%      10%
                                                   45%
                                                   iLoc-man     62%         72%     25%     86%    60%         63%   24%      40%     66%     69%   66%     81%
                                                   60%




mance. Overall, if .oc predictions based on the WiFi data                                            TABLE 12
stream was able to achieve 84% prediction accuracy, and
GSM stream achieved 25%. Both GSM and WiFi based pre-                          HMM    State transition matrix based on Wifi data stream

diction modules made reasonable predictions for query time         45
                                                                                   State 1         State 2     State 3     State 4      State 5
ranges up to an hour. This is sufficient for many application
                                                                      State 1      37%               0%          63%         0%           0%
scenarios, for which predicting a user's behavior for the next        State 2        0%             99%        0.90%      0.10%           0%
hour is extremely helpful for satisfying the user's information       State 3      82%              10%            1%        7%           0%
cravings.                                                             State 4        0%           0.50%        0.50%        16%         61%
                                                                   50 State 5        0%              0%           0%        56%         44%
   Table 11 shows the overall accuracy measures for all users
under different approaches, and different parameter settings.
The first row shows the accuracies of iLoc with the default              The second part of the Table 11 shows the accuracy of iLoc
parameters (from Table 4). Table 11 easily compares the               when the min-support parameter value is varied. Four settings
performance of difforent approaches and different parameter 55 (0%, 1% default, 2% and 5%) are tested, which are labeled
settings. Table 11 has three parts. In the first part, the perfor-    iLoc-0, iLoc-default, iLoc-2, and iLoc-5. The higher the min-
mance of iLoc is compared against HMM and LDA. Both                   support, the fewer stationary states are considered in the
HMM and LDA show low accuracies that are not suitable for             transition states, and generally the greater the prediction
this prediction task. LDA only provides clustering informa-           accuracy. The price for the greater accuracy is not being able
tion, which can be used as stationary states. HMM requires 60 to predict some infrequent movements.
observations to infer the hidden states, whereas at the query            FIG. 14A and FIG. 14B are graphs 1400 and 1450 of
time instance, furure observations are not available yet.             number of predictions made for different minimum thresh-
Although HMM provides transitional probability distribution           olds for probability of occurrence of a stationary state (called
for different states, these transitions are mostly for self-tran-     min support), according to some embodiments. The horizon-
sitions. The Viterbi algorithm will always end up with the 65 ta! axis 1402 is minimum support in percent(%). The vertical
same state. To illustrate this, Table 12 shows the transition         axis 1402 is number of Qtl queries allowed; and the vertical
matrix from a HMM model. From the matrix itself, some                 axis 1454 is number of Qt2 queries allowed. Graph 1400



                                                                                                                                                                   JTX-090-0039
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depicts Qtl queries for User 1 as trace 1410a, User 2 as trace      incremental signal data stream processing modules. The effi-
1410h and User 3 as trace 1410c based on the GSM data               ciency of building and storing different user states has been
stream. Graph 1400 also depicts Qtl queries for User 1 as           shown empirically.
trace 1420a, User 2 as trace 1420b and User 3 as trace 1420c        Hardware Descriptions
based on the WiFi data stream. Graph 1450 depicts Qt2 que- 5           The processes described herein for incrementally deter-
ries for User 1 as trace 1460a, User 2 as trace 1460b and User      mining location context may be advantageously implemented
3 as trace 1460c based on the GSM data stream. Graph 1450           via software, hardware (e.g., general processor, Digital Sig-
also depicts Qt2 queries for User 1 as trace 1470a, User 2 as       nal Processing (DSP) chip, an Application Specific Integrated
trace 1470b and User3 as trace 1470c based on the WiFi data         Circuit (ASIC), Field Programmable Gate Arrays (FPGAs),
stream.                                                          10 etc.), firmware or a combination thereof. Such exemplary
   As shown in FIG. 14A and FIG. 14B, as min-support                hardware for performing the described functions is detailed
increases, the number of the queries that can be answered           below.
decreases monotonically. At min-support 0%, iLoc can                   FIG. 16 illustrates a computer system 1600 upon which an
answer a maximum number of queries both for Qtl and Qt2;            embodiment of the invention may be implemented. Although
however, with the worst accuracy. For Qtl, with min-support 15 computer system 1600 is depicted with respect to a particular
at 1%, iLoc is still able to answer a large portion of queries      device or equipment, it is contemplated that other devices or
with good gain in accuracy. For Qt2, at 1% min-support, the         equipment (e.g., network elements, servers, etc.) within FIG.
number of queries dropped can be large for some settings.           16 can deploy the illustrated hardware and components of
However, the accuracy gain is dramatic. As min-support              system 1600. Computer system 1600 is programmed (e.g.,
keeps increasing (e.g., iLoc-2, and iLoc-5), the number of 20 via computer program code or instructions) to incrementally
queries dropped also increases. The accuracy gain is only           determine location context as described herein and includes a
moderate (6% to 9% overall improvements). Therefore, to             communication mechanism such as a bus 1610 for passing
reach the right balance, a min-support value of 1% was cho-         information between other intenrnl and external components
sen as the default.                                                 of the computer system 1600. Information (also called data) is
   The third part of Table 11 shows the effect of the temporal 25 represented as a physical expression of a measurable phe-
features. The iLoc-none embodiment uses no temporal fea-            nomenon, typically electric voltages, but including, in other
tures. The iLoc-none performs badly for Qt2 queries. This is        embodiments, such phenomena as magnetic, electromag-
expected since iLoc-none does not differentiate movements           netic, pressure, chemical, biological, molecular, atomic, sub-
in different time contexts. When morning, afternoon and             atomic and quantlllll interactions. For example, north and
night temporal features are added (labeled iLoc-man), the 30 south magnetic fields, or a zero and non-zero electric voltage,
performance improves drastically. •l'he performance is further      represent two states (0, 1) of a binary digit (bit). Other phe-
enhanced with the full feature set (labeled iLoc-default).          nomena can represent digits of a higher base. A superposition
   FIG. 15 is a graph 1500 of average execution time to make        of multiple simultaneous quantum states before measurement
a prediction for moving and non-moving mobile terminals for         represents a quantum bit (qubit). A sequence of one or more
GSM cells and WiFi access points, according to some 35 digits constitutes digital data that is used to represent a num-
embodiments. The horizontal axis 1502 indicates bins for the        ber or code for a character. In some embodiments, informa-
query and signal data stream. The vertical axis 1504 indicates      tion called analog data is represented by a near continuum of
the execution time in seconds. Bar 1510 indicates the execu-        measurable values within a particular range. Computer sys-
tion time for Qtl queries based on a GSM data stream. I3ar          tem 1600, or a portion thereof, constitutes a means for per-
1520 indicates the execution time for Qt2 queries based on a 40 forming one or more steps of incrementally determining loca-
GSM data stream. Bar 1530 indicates the execution time for          tion context.
Qtl queries based on a WiFi data stream. Bar 1540 indicates            A bus 1610 includes one or more parallel conductors of
the execution time for Qt2 queries based on a WiFi data             information so that information is transferred quickly among
stream. Most of the queries complete within 5 milliseconds.         devices coupled to the bus 1610. One or more processors
With this speed, iLoc can scale nicely as a web service for 45 1602 for processing information are coupled with the bus
many thousands of users.                                            1610.
   The iLoc framework is an open framework. The illustrated            A processor 1602 performs a set of operations on informa-
embodiments work well for the mobile signal envirolllllent.         tion as specified by computer program code related to incre-
In other embodiments more sensor inputs are incorporated,           mentally determining location context. The computer pro-
such as accelerometer sensor data to differentiate finer grain 50 gram code is a set of instructions or statements providing
movements. In some embodiments, signal strength is incor-           instructions for the operation of the processor and/or the
porated to help identify smaller stationary states.                 computer system to perform specified functions. The code,
   The iLoc learning framework captures spatial and tempo-          for example, may be written in a computer programming
ral dimensions, and is able to accurately forecast a user's         language that is compiled into a native instruction set of the
future locations in a fully automatic and incremental fashion. 55 processor. The code may also be written directly using the
Recommendation systems based on iLoc can accurately push            native instruction set (e.g., machine language). The set of
relevant information based on the predicted location informa-       operations include bringing information in from the bus 1610
tion. For instance, a system can automatically fetch relevant       and placing infonnation on the bus 1610. The set of opera-
traffic information and prepare routing information when a          tions also typically include comparing two or more units of
user is about to transit to another stationary state (e.g., from 60 information, shifting positions of units of information, and
work to home) without any command from the user. Alterna-           combining two or more units of information, such as by
tively, a system can smartly push advertisements that are           addition or multiplication or logical operations like OR,
related to different stationary states (e.g., push lunch coupons    exclusive OR (XOR), andANlJ. Each operation of the set of
when a user is about to go to lunch). In order to generate          operations that can be performed by the processor is repre-
values for millions of users, a system should be able to scale 65 sented to the processor by information called instructions,
linearly with the amount of information received. It has been       such as an operation code of one or more digits. A sequence of
shown that iLoc is able to satisfy this requirement due to its      operations to be executed by the processor 1602, such as a



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sequence of operation codes, constitute processor instruc-          which a variety of external devices with their own processors
tions, also called computer system instructions or, simply,         are connected. For example, communication interface 1670
computer instructions. Processors may be implemented as             may be a parallel port or a serial port or a universal serial bus
mechanical, electrical, magnetic, optical, chemical or quan-        (USB) port on a personal computer. In some embodiments,
tum components, among others, alone or in combination.           5 communications interface 1670 is an integrated services digi-
   Computer system 1600 also includes a memory 1604                 tal network (ISDN) card or a digital subscriber line (DSL)
coupled to bus 1610. The memory 1604, such as a random              card or a telephone modem that provides an information
access memory (RAM) or other dynamic storage device,                communication connection to a corresponding type of tele-
stores information including processor instructions for incre-      phone line. In some embodiments, a communication interface
mentally determining location context. Dynamic memory 10 1670 is a cable modem that converts signals on bus 1610 into
allows information stored therein to be changed by the com-         signals for a communication connection over a coaxial cable
puter system 1600. RAM allows a unit of information stored          or into optical signals for a communication connection over a
at a location called a memory address to be stored and              fiber optic cable. As mmther example, communications inter-
retrieved independently of information at neighboring               face 1670 may be a local area network (LAN) card to provide
addresses. The memory 1604 is also used by the processor 15 a data communication connection to a compatible LAN, such
1602 to store temporary values during execution of processor        as Ethernet. Wireless links may also be implemented. For
instructions. The computer system 1600 also includes a read         wireless links, the communications interface 1670 sends or
only memory (ROM) 1606 or other static storage device               receives or both sends and receives electrical, acoustic or
coupled to the bus 1610 for storing static information, includ-     electromagnetic signals, including infrared and optical sig-
ing instructions, that is not changed by the computer system 20 nals, that carry information streams, such as digital data. For
1600. Some memory is composed of volatile storage that              example, in wireless handheld devices, such as mobile tele-
loses the infornrntion stored thereon when power is lost. Also      phones like cell phones, the communications interface 1670
coupled to bus 1610 is a non-volatile (persistent) storage          includes a radio band electromagnetic transmitter and
device 1608, such as a magnetic disk, optical disk or flash         receiver called a radio transceiver. In certain embodiments,
card, for storing information, including instructions, that per- 25 the communications interface 1670 enables connection to the
sists even when the computer system 1600 is turned off or           c01m1rnnication network 105 for obtaining signal data
otherwise loses power.                                              streams from the UE 101.
   Information, including instructions for incrementally               The term computer-readable medium is used herein to refer
determining location context, is provided to the bus 1610 for       to any medium that participates in providing information to
use by the processor from an external input device 1612, such 30 processor 1602, including instructions for execution. Such a
as a keyboard containing alphanumeric keys operated by a            medium may take many forms, including, but not limited to,
human user, or a sensor. A sensor detects conditions in its         non-volatile media, volatile media m1dtransmission media.
vicinity and transforms those detections into physical expres-      Non-volatile media include, for example, optical or magnetic
sion compatible with the measurable phenomenon used to              disks, such as storage device 1608. Volatile media include, for
represent information in computer system 1600. Other exter- 35 example, dynamic memory 1604. Transmission media
nal devices coupled to bus 1610, used primarily for interact-       include, for example, coaxial cables, copper wire, fiber optic
ing with humans, include a display device 1614, such as a           cables, and carrier waves that travel through space without
cathode ray tube (CRT) or a liquid crystal display (LCD), or        wires or cables, such as acoustic waves and electromagnetic
plasma screen or printer for presenting text or images, and a       waves, including radio, optical and infrared waves. Signals
pointing device 1616, such as a mouse or a trackball or cursor 40 include man-made transient variations in amplitude, fre-
direction keys, or motion sensor, for controlling a position of     quency, phase, polarization or other physical properties trans-
a small cursor image presented on the display 1614 and issu-        mitted through the transmission media. Common forms of
ing commands associated with graphical elements presented           computer-readable media include, for example, a floppy disk,
on the display 1614. In some embodiments, for example, in           a flexible disk, hard disk, magnetic tape, any other magnetic
embodiments in which the computer system 1600 performs 45 medium, a CD-ROM, CDRW, DVD, m1y other optical
all functions automatically without human input, one or more        medium, punch cards, paper tape, optical mark sheets, any
of external input device 1612, display device 1614 and point-       other physical medium with patterns of holes or other opti-
ing device 1616 is omitted.                                         cally recognizable indicia, a RAM, a PROM, an EPROM, a
   In the illustrated embodiment, special purpose hardware,         FLASH-EPROM, any other memory chip or cartridge, a car-
such as an application specific integrated circuit (ASIC) 50 rier wave, or any other medium from which a computer can
1620, is coupled to bus 1610. The special purpose hardware is       read. The term computer-readable storage medium is used
configured to perform operations not performed by processor         herein to refer to any computer-readable medium except
1602 quickly enough for special purposes. Examples of appli-        transmission media.
cation specific ICs include graphics accelerator cards for             Logic encoded in one or more tangible media includes one
generating images for display 1614, cryptographic boards for 55 or both of processor instructions on a computer-readable
encrypting and decrypting messages sent over a network,             storage media and special purpose hardware, such as ASIC
speech recognition, and interfaces to special external devices,     1620.
such as robotic anns and medical scmming equipment that                Network link 1678 typically provides infonnationconnnu-
repeatedly perform some complex sequence of operations              nication using transmission media through one or more net-
that are more efficiently implemented in hardware.               60 works to other devices that use or process the information. For
   Computer system 1600 also includes one or more instances         example, network link 1678 may provide a connection
of a communications interface 1670 coupled to bus 1610.             through local network 1680 to a host computer 1682 or to
Communication interface 1670 provides a one-way or two-             equipment 1684 operated by an Internet Service Provider
way communication coupling to a variety of external devices         (ISP). ISP equipment 1684 in turn provides data communi-
that operate with their own processors, such as printers, scan- 65 cation services through the public, world-wide packet-
ners and external disks. In general the coupling is with a          switching communication network of networks now com-
network link 1678 that is connected to a local network 1680 to      monly referred to as the Internet 1690.



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   A computer called a server host 1692 connected to the          memory components described with respect to FIG. 16 incor-
Internet hosts a process that provides a service in response to   porated in one or more physical packages (e.g., chips). Ry
information received over the Internet. For example, server       way of example, a physical package includes an arrangement
host 1692 hosts a process that provides information repre-        of one or more materials, components, and/or wires on a
senting video data for presentation at display 1614. It is 5 structural assembly (e.g., a baseboard) to provide one or more
contemplated that the components of system 1600 can be            characteristics such as physical strength, conservation of size,
deployed in various configurations within other computer          and/or limitation of electrical interaction. It is contemplated
systems, e.g., host 1682 and server 1692.                         that in certain embodiments the chip set can be implemented
   At least some embodiments of the invention are related to      in a single chip. Chip set 1700, or a portion thereof, consti-
the use of computer system 1600 for implementing some or 10 tutes a means for performing one or more steps of incremen-
all of the techniques described herein. According to one          tally determining location context.
embodiment of the invention, those techniques are performed          In one embodiment, the chip set 1700 includes a commu-
by computer system 1600 in response to processor 1602             nication mechanism such as a bus 1701 for passing infonna-
executing one or more sequences of one or more processor          tion among the components of the chip set 1700. A processor
instructions contained in memory 1604. Such instructions, 15 1703 has connectivity to the bus 1701 to execute instructions
also called computer instructions, software and program           and process information stored in, for example, a memory
code, may be read into memory 1604 from another computer-         1705. The processor 1703 may include one or more process-
readable medium such as storage device 1608 or network link       ing cores with each core configured to perform indepen-
1678. Execution of the sequences of instructions contained in     dently. A multi-core processor enables multiprocessing
memory 1604 causes processor 1602 to perform one or more 20 within a single physical package. Examples of a multi-core
of the method steps described herein. In alternative embodi-      processor include two, four, eight, or greater numbers of
ments, hardware, such as ASIC 1620, may be used in place of       processing cores. Alternatively or in addition, the processor
or in combination with software to implement the invention.       1703 may include one or more microprocessors configured in
Thus, embodiments of the invention are not limited to any         tandem via the bus 1701 to enable independent execution of
specific combination of hardware and software, unless other- 25 instructions, pipelining, and multithreading. The processor
wise explicitly stated herein.                                    1703 may also be accompanied with one or more specialized
   The signals transmitted over network link 1678 and other       components to perform certain processing functions and
networks through communications interface 1670, carry             tasks such as one or more digital signal processors (DSP)
information to and from computer system 1600. Computer            1707, or one or more application-specific integrated circuits
system 1600 can send and receive information, including 30 (ASIC) 1709. A DSP 1707 typically is configured to process
program code, through the networks 1680, 1690 among oth-          real-world signals (e.g., sound) in real time independently of
ers, through network link 1678 and communications interface       the processor 1703. Similarly, an ASIC 1709 can be config-
1670. In an example using the Internet 1690, a server host        ured to performed specialized functions not easily performed
1692 transmits program code for a particular application,         by a general purposed processor. Other specialized compo-
requested by a message sent from computer 1600, through 35 nents to aid in performing the inventive functions described
Internet 1690, ISP equipment 1684, local network 1680 and         herein include one or more field programmable gate arrays
communications interface 1670. The received code may be           (FPGA) (not shown), one or more controllers (not shown), or
executed by processor 1602 as it is received, or may be stored    one or more other special-purpose computer chips.
in memory 1604 or in storage device 1608 or other non-               The processor 1703 and accompanying components have
volatile storage for later execution, or both. In this manner, 40 connectivity to the memory 1705 via the bus 1701. The
computer system 1600 may obtain application program code          memory 1705 includes both dynamic memory (e.g., RAM,
in the form of signals on a carrier wave.                         magnetic disk, writable optical disk, etc.) and static memory
   Various forms of computer readable media may be                (e.g., ROM, CD-ROM, etc.) for storing executable instruc-
involved in carrying one or more sequence of instructions or      tions that when executed perform the inventive steps
data or both to processor 1602 for execution. For example, 45 described herein to incrementally determine location context.
instructions and data may initially be carried on a magnetic      The memory 1705 also stores the data associated with or
disk of a remote computer such as host 1682. The remote           generated by the execution of the inventive steps.
computer loads the instructions and data into its dynamic            FIG. 18 is a diagram of exemplary components of a mobile
memory and sends the instructions and data over a telephone       terminal (e.g., handset) for communications, which is capable
line using a modem. A modem local to the computer system 50 ofoperating in the system ofFIG.1, according to one embodi-
1600 receives the instructions and data on a telephone line       ment. In some embodiments, mobile terminal 1800, or a
and uses an infra-red transmitter to convert the instructions     portion thereof, constitutes a means for performing one or
and data to a signal onan infra-red carrier wave serving as the   more steps of incrementally determining location context.
network link 1678. An infrared detector serving as commu-         Generally, a radio receiver is often defined in terms offront-
nications interface 1670 receives the instructions and data 55 end and back-end characteristics. The front-end of the
carried in the infrared signal and places information repre-      receiver encompasses all of the Radio Frequency (RF) cir-
senting the instructions and data onto bus 1610. Bus 1610         cuitry whereas the back-end encompasses all of the base-
carries the information to memory 1604 from which proces-         band processing circuitry. As used in this application, the tenn
sor 1602 retrieves and executes the instructions using some of    "circuitry" refers to both: (1) hardware-only implementations
the data sent with the instructions. The instructions and data 60 (such as implementations in only analog and/or digital cir-
received in memory 1604 may optionally be stored on storage       cuitry), and (2) to combinations of circuitry and software
device 1608, either before or after execution by the processor    (and/or firmware) (such as to a combination ofprocessor(s),
1602.                                                             including digital signal processor(s), software, and
   FIG. 17 illustrates a chip set 1700 upon which an embodi-      memory(ies) that work together to cause an apparatus, such as
ment of the invention may be implemented. Chip set 1700 is 65 a mobile phone or server, to perform various functions). This
programmed to incrementally determine location context as         definition of"circuitry" applies to all uses of this term in this
described herein and includes, for instance, the processor and    application, including in any claims. As a further example, as



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used in this application, the term "circuitry" would also cover   and optionally sent to an antenna coupler 1835 to match
an implementation of merely a processor (or multiple proces-      impedances to provide maximum power transfer. Finally, the
sors) and its (or their) accompanying software/or firmware.       signal is transmitted via antenna 1817 to a local base station.
The term "circuitry" would also cover, for example, a base-       An automatic gain control (AGC) can be supplied to control
band integrated circuit or applications processor integrated 5 the gain of the final stages of the receiver. The signals may be
circuit in a mobile phone or a similar integrated circuit in a    forwarded from there to a remote telephone which may be
cellular network device or other network devices.                 another cellular telephone, other mobile phone or a land-line
   Pertinent internal components of the telephone include a       connected to a Public Switched Telephone Network (PSTN),
Main Control Unit (MCU) 1803, a Digital Signal Processor          or other telephony networks.
(DSP) 1805, and a receiver/transmitter unit including a 10
                                                                     Voice signals transmitted to the mobile terminal 1801 are
microphone gain control unit and a speaker gain control unit.
                                                                  received via antenna 1817 and i=ediately         amplified by a
A main display unit 1807 provides a display to the user in
                                                                  low noise amplifier (LNA) 1837. A down-converter 1839
support of various applications and mo bile terminal functions
that perform or support the steps of incrementally determin-      lowers the carrier frequency while the demodulator 1841
ing location context. The display unit 1807 includes display 15 strips away the RF leaving only a digital bit stream. The signal
circuitry configured to display at least a portion of a user      then goes through the equalizer 1825 and is processed by the
interface of the mobile terminal (e.g., mobile telephone).        DSP 1805. A Digital to Analog Converter (DAC) 1843 con-
Additionally, the display unit 1807 and display circuitry are     verts the signal and the resulting output is transmitted to the
configured to facilitate user control of at least some functions  user through the speaker 1845, all under control of a Main
of the mobile terminal. An audio function circuitry 1809 20 Control Unit (MCU) 1803-which can be implemented as a
includes a microphone 1811 and microphone amplifier that          Central Processing Unit (CPU) (not shown).
amplifies the speech signal output from the microphone 1811.         The MCU 1803 receives various signals including input
The amplified speech signal output from the microphone            signals from the keyboard 1847. The keyboard 1847 and/or
1811 is fed to a coder/decoder (CODEC) 1813.                      the MCU 1803 in combination with other user input compo-
   A radio section 1815 amplifies power and converts fre- 25 nents (e.g., the microphone 1811) comprise a user interface
quency in order to communicate with a base station, which is      circuitry for managing user input. The MCU 1803 runs a user
included in a mobile col11lllunication system, via antenna        interface software lo facilitate user control of al least some
1817. The power amplifier (PA) 1819 and the transmitter/          functions of the mobile terminal 1801 to send user input or a
modulation circuitry are operationally responsive to the MCU      signal data stream to incrementally determine location con-
1803, with an output from the PA 1819 coupled to the 30 text. The MCU 1803 also delivers a display col11lllandand a
duplexer 1821 or circulator or antenna switch, as known in the
                                                                  switch col11lllandto the display 1807 and to the speech output
art. The PA 1819 also couples to a battery interface and power
                                                                  switching controller, respectively. Further, the MCU 1803
control unit 1820.
                                                                  exchanges information with the DSP 1805 and can access an
   In use, a user of mobile terminal 1801 speaks into the
microphone 1811 and his or her voice along with any detected 35 optionally incorporated SIM card 1849 and a memory 1851.
background noise is converted into an analog voltage. The         In addition, the MCU 1803 executes various control functions
analog voltage is then converted into a digital signal through    required  of the terminal. The DSP 1805 may, depending upon
the Analog to Digital Converter (ADC) 1823. The control unit      the implementation, perform any of a variety of conventional
1803 routes the digital signal into the DSP 1805 for process-     digital processing functions on the voice signals. Addition-
ing therein, such as speech encoding, channel encoding, 40 ally, DSP 1805 determines the background noise level of the
encrypting, and interleaving. In one embodiment, the pro-         local environment from the signals detected by microphone
cessed voice signals are encoded, by units not separately         1811 and sets the gain of microphone 1811 to a level selected
shown, using a cellular transmission protocol such as global      to compensate for the natural tendency of the user of the
evolution (EDGE), general packet radio service (GPRS ), glo-      mobile terminal 1801.
bal system for mobile communications (GSM), Internet pro- 45         The CODEC 1813 includes the ADC 1823 and DAC 1843.
tocol multimedia subsystem (IMS), universal mobile tele-          The memory 1851 stores various data including call incoming
communications system (UMTS), etc., as well as any other          tone data and is capable of storing other data including music
suitable wireless medium, e.g., microwave access (WiMAX),         data received via, e.g., the global Internet. The software mod-
Long Term Evolution (LTE) networks, code division multiple        ule could reside in RAM memory, flash memory, registers, or
access (CDMA), wideband code division multiple access 50 any other form of writable storage medium known in the art.
(WCDMA), wireless fidelity (WiFi), satellite, and the like.       The memory device 1851 may be, but not limited to, a single
   The encoded signals arc then routed to an equalizer 1825       memory, CD, DVD, ROM, RAM, EEPROM, optical storage,
for compensation of any frequency-dependent impairments           or any other non-volatile storage medium capable of storing
that occur during transmission though the air such as phase       digital data.
and amplitude distortion. After equalizing the bit stream, the 55    An optionally incorporated SIM card 1849 carries, for
modulator 1827 combines the signal with a RF signal gener-        instance, important information, such as the cellular phone
ated in the RF interface 1829. The modulator 1827 generates       nun1ber, the carrier supplying service, subscription details,
a sine wave by way of frequency or phase modulation. In           and security infonnation. The SIM card 1849 serves prima-
order to prepare the signal for transmission, an up-converter     rily to identify the mobile terminal 1801 on a radio network.
1831 combines the sine wave output from the modulator 1827 60 The card 1849 also contains a memory for storing a personal
with another sine wave generated by a synthesizer 1833 to         telephone nlllllber registry, text messages, and user specific
achieve the desired frequency of transmission. The signal is      mobile terminal settings.
then sent through a PA 1819 to increase the signal to an             While the invention has been described in connection with
appropriate power level. In practical systems, the PA 1819        a number of embodiments and implementations, the inven-
acts as a variable gain amplifier whose gain is controlled by 65 tion is not so limited but covers various obvious modifications
the DSP 1805 from information received from a network base        and equivalent arrangements, which fall within the purview
station. The signal is then filtered within the duplexer 1821     of the appended claims. Although features of the invention are



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expressed in certain combinations among the claims, it is                 9. A method of claim 4, wherein delivering the service to
contemplated that these features can be arranged in any com-           the mobile device based on the stationary state further com-
bination and order.                                                    prises determining a type of service based on a transition state
   What is claimed is:                                                 that includes the stationary state.
   1. A method comprising:                                                10. A method of claim 4, further comprising predicting the
   causing at least in part a receiving of signal data that indi-      transition state by:
       cates a set of one or more distinct signal sources from            determining a most probable transition state at the current
       which signals are received at a mobile device for each of             time; and
       a plurality of different times;                                    determining a most probable transition state at a future
   determining whether the mobile device is moving outside a 10
                                                                             time given the most probable transition state at the cur-
       specified area at a current time of the plurality of differ-
                                                                             rent time.
       ent times based on the signal data;
                                                                          11. An apparatus comprising:
   if the mobile device is determined to be not moving outside
       the specified area, then causing at least in part an incre-        at least one processor; and
       menting of a count for a stationary state associated with 15       at least one memory including computer instructions, the at
       the set of one or more distinct signal sources at the                  least one memory and computer instructions configured
       current time;                                                         to, with the at least one processor, cause the apparatus at
   determining a primary set of stationary states, each station-              least to:
       ary state in the primary set associated with a frequently              cause at least in part a receiving of signal data that
       incremented count for one or more similar sets of one or 20               indicates a set of one or more distinct signal sources
       more distinct signal sources when the mobile device is                    from which signals are received at a mobile device for
       not moving outside the specified area and                                 each of a plurality of different times;
   causing at least in part initiation of delivery of a service to            dt'lermine whether the mobile device is moving outside
       the mobile device based on the stationary state.                          a specified area at a current time of the plurality of
   2. A method of claim 1, wherein determining whether the 25                    different times based on the signal data:
mobile device is moving outside the specified area comprises                  if the mobile device is determined to be not moving
determining whether a measure of similarity, between a first                     outside the specified area, then incrementing a
set of one or more distinct signal sources in a time window                      counter for a stationary state associated with the set of
ending at the current time and a second set of one or more                       one or more distinct signal sources at the current time;
distinct signal sources in a time window ending at a time 30                  determine a primary set of stationary states, each sta-
earlier than the current time, is below a movement threshold.
                                                                                 tionary state in the primary set associated with a fre-
   3. A method of claim 1, wherein incrementing the count for
                                                                                 quently incremented count for one or more similar
the stationary state further comprises:
                                                                                 sets of one or more distinct signal sources when the
   determining a conditional probability for each wireless
       transmitter of the set of wireless transmitters given an 35               mobile   device is not moving outside the specified
       extant stationary state;                                                  area; and
   determining a conditional probability for the extant sta-                  cause at least in part initiation of delivery of a service to
       tionary state given the set of one or more distinct signal                the mobile device based on the stationary state.
       sources based on the conditional probability for each              12. An apparatus of claim 11, wherein determining
       wireless transmitter of the set of wireless transmitters 40 whether the mobile device is moving outside the specified
       given the extant stationary state; and                          area comprises determining whether a measure of similarity,
   updating a count of the extant stationary state if the condi-       between a first set of one or more distinct signal sources in a
       tional probability for the extant state given the set ofone     time window ending at the current time and a second set of
       or more distinct signal sources is greater than a cluster       one or more distinct signal sources in a time window ending
       threshold.                                                   45 at a time earlier than the current time, is below a movement
   4. A method of claim 1, further comprising determining a            threshold.
transition state associated with a change from a first station-           13. An apparatus of claim 11, wherein incrementing the
ary state to a second stationary state of the primary set of           count for the stationary state further comprises:
stationary states.                                                        determining a conditional probability for each wireless
   5. A method of claim 4, wherein the first stationary state is 50          transmitter of the set of wireless transmitters given an
identical to the second secondary state.                                      extant stationary state;
   6. A method of claim 4, wherein determining the transition
                                                                          determining a conditional probability for the extant sta-
state further comprises incrementing a count for the transition
                                                                             tionary state given the set of one or more distinct signal
state, wherein the count is associated with duration in the first
                                                                              sources based on the conditional probability for each
stationary state and a timing context when the transition state 55
is determined.                                                               wireless transmitter of the set of wireless transmitters
   7. A method of claim 4, further comprising predicting the                  given the extant stationary state: and
transition state based on a last stationary state before the              updating a count of the extant stationary state if the condi-
current time and a time context for the current time and a                   tional probability for the extant state given the set ofone
history of occurrence of the transition state, wherein deliver- 60            or more distinct signal sources is greater than a cluster
ing the service to the mobile device based on the stationary                 threshold.
state further comprises delivering the service based on the               14. An apparatus of claim 11, the at least one memory and
predicted transition state.                                            computer instructions further configured to, with the at least
   8. A method of claim 1, wherein delivering the service to           one processor, cause the apparatus at least to determine a
the mobile device based on the stationary state further com- 65 transition state associated with a change from a first station-
prises determining a type of service based on communica-               ary state to a second stationary state of the primary set of
tions by the user during the stationary state.                         stationary states.



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   15. An apparatus of claim 14, the at least one memory and
computer instructions further configured to, with the at least
one processor, cause the apparatus at least to predict the
transition state by:
   determining a most probable transition state at the current    5
      time; and
   determining a most probable transition state at a future
      time given the most probable transition state at the cur-
      rent time.
                                                                  10
                       *   *   *    *   *




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